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                  EXHIBIT 7
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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW JERSEY


IN RE JOHNSON & JOHNSON                               MDL NO. 16-2738 (MAS) (RLS)
TALCUM POWDER PRODUCTS
MARKETING, SALES PRACTICES, AND
PRODUCTS LIABILITY LITIGATION

THIS DOCUMENT RELATES TO ALL CASES




                     AMENDED RULE 26 EXPERT REPORT OF
                          WILLIAM SAGE, MD, JD




Dated: November 15, 2023
                                      William Sage, M.D., J.D.
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A.     Qualifications

       1.      I am currently a tenured Professor of Law at Texas A&M University School of
Law in Fort Worth, TX, a tenured Professor of Translational Medical Science at Texas A&M
University School of Medicine, a professor by courtesy at the Bush School of Government and
Public Service at Texas A&M University, and an Assistant Vice President in the Texas A&M
University Health Science Center.
         2.     I received my A.B. degree magna cum laude in biochemical sciences from
Harvard College in 1982. I received both my M.D. degree with research honors in anesthesia and
critical care medicine and my J.D. degree with distinction from Stanford University in 1988. I
hold an honorary doctorate from Universite Paris Descartes. I completed my medical internship
at Mercy Hospital in San Diego and served one year of residency in anesthesiology and critical
care medicine at The Johns Hopkins Hospital in Baltimore. I practiced corporate and securities
law at O’Melveny & Myers in Los Angeles before entering the legal academy.
        3.     I have written over 200 articles, many of them peer reviewed, and have written or
edited four books, including the Oxford Handbook of U.S. Health Law (2016). Many of these
publications are relevant to the topic of this report, and reflect both analytical and empirical
research.
        4.      I was recruited to Texas A&M University in 2022 to become the founding
director of the Texas A&M University Institute for Healthcare Access. From 2006 to 2022, I
was James R. Dougherty Chair for Faculty Excellence in the School of Law and Professor of
Surgery and Perioperative Care in the Dell Medical School at the University of Texas at Austin,
where I also served from 2006 to 2022 as that university’s first Vice Provost for Health Affairs.
       5.      I was a tenured Professor of Law at Columbia until 2006, and have been a visiting
law professor at Yale, Harvard, New York University (where I also was appointed a visiting
professor of population health in the NYU Langone School of Medicine), Duke, Emory, and
George Washington University.
        6.      I have taught classes in regulatory theory and public policy at Columbia Law
School, the University of Texas School of Law, and Texas A&M University School of Law,
classes in professional ethics and self-governance focusing on law and medicine, and a wide
range of classes on health law and policy specifically.
        7.      I have served in advisory roles for governmental, academic, professional, and
community organizations. I served as Cluster Leader, Health Care Working Group, on President
Clinton’s Task Force on Health Care Reform in 1993. Examples of present or recent leadership
roles include: Editorial Board, Health Affairs; Fellows Council, The Hastings Center on
Bioethics, of which I am an elected fellow; Board of Directors, ChangeLab Solutions; National
Advisory Council, National Center on Medical-Legal Partnership.
      8.    Among other professional achievements, I am an elected member of the National
Academy of Medicine, one of the three National Academies of Sciences. I have served the


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National Academies in several voluntary capacities, including: Member, Board on Health Care
Services; Member, Committee on the Future of Nursing, 2020-2030; Monitor, Report on
Regulating Medicines in a Globalized World; Peer reviewer, Report on Making Medicines
Affordable: A National Imperative (2018). I am also an elected member of the American Law
Institute, and I have served that organization as a volunteer advisor to the Restatement (Third) of
Torts, focusing on proposed additions and revisions involving medical malpractice.
        9.     My expertise is in the science of policymaking, including the science of
regulatory design. I have particular expertise in the regulation of health and safety, in
information-based regulation, and in self-regulatory models. Self-regulation in which I am
expert includes government-supervised health and financial self-regulation, corporate
compliance and corporate governance, and the regulation of self-governing professions.
       10.   My compensation is $900/hour. I have not testified in any litigation in the last 4
years. My most recent Curriculum Vitae is attached as Exhibit A.

B.     Methodology

        11.    I was asked to answer the following questions: (a) What are the regulatory
practices and standards under which manufacturers of cosmetics operate? and (b) Did Johnson &
Johnson comply with these standards in its general development, manufacture, marketing, and
sale of talcum powder products? 1 I was not asked to give an opinion as to whether talcum
powder products cause cancer.
        12.      I approached this analysis using the same processes and attention that I have
applied in my professional and academic career. My research included searching and reviewing
relevant laws and regulations, standards in the industry, peer-reviewed literature, publicly
available information, and relevant corporate documents requested of counsel. Throughout this
report, I cite specific documents; I have also attached a list of materials I reviewed as
background even if not specifically cited in this report. My opinions were formulated based on
this research and my professional knowledge, experience, and expertise.

C.     Discussion

Federal regulation places responsibility directly on manufacturers to inform consumers of
hazards and assure the safety of their products without extensive FDA participation or
oversight.
        13.     Federal regulations for cosmetics have been in place for more than 80 years and
have not changed significantly, even as a highly profitable cosmetics industry has grown and
industrialized and globalized.



1
 As used in this report, “talcum powder products” means Johnson’s Baby Powder and Shower to
Shower products containing talc as an ingredient.


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      14.    Congress first granted the FDA regulatory authority over cosmetics as part of the
1938 Food, Drug and Cosmetics Act (FDCA). 21 U.S.C. § 361 et seq.
        15.    In 1933, FDA created a traveling exhibit to showcase “about 100 dangerous,
deceptive, or worthless products that the FDA lacked authority to remove from the market”– the
so-called “American Chamber of Horrors.” 2 Public concern led to the passage of the 1938
FDCA.
        16.    Cosmetics regulation is small in scale and scope compared to drug and medical
device regulation. There are only three statutory sections in the FDCA related to cosmetics, from
which is derived all of FDA’s authority. In Title 21 of the Code of Federal Regulation,
regulations governing cosmetics comprise only one subchapter with five parts. In comparison,
regulations governing drugs comprise two subchapters with fifty-one parts. And regulations
governing medical devices comprise one subchapter with thirty-four parts.
        17.     The two central aspects of federal cosmetics regulation are (1) manufacturer
informational obligations to consumers and (2) reliance on manufacturer and industry self-
regulation. FDA has little direct involvement in these activities, and lacks routine authority to
assure the safety of cosmetic products or ingredients.
        18.    The rudimentary character of the federal regulatory scheme for cosmetics has
long been a topic of interest, with scholars and others acknowledging and debating the
effectiveness of FDA’s highly circumscribed authority over cosmetics under the FDCA. Hutt,
Merrill, & Grossman, “Cosmetics,” Food and Drug Law Cases and Materials (2014).
       19.     The FDA itself recognizes its limitations in effectively regulating cosmetics.
Susan Mayne, Director of the Center for Food Safety and Applied Nutrition (CFSAN), testified
in 2019 about the limitations of FDA’s ability to regulate the industry.
       20.    Relevant, selected excerpts of testimony of Susan Mayne, Subcommittee on
Health, House Committee on Energy and Commerce (Dec. 4. 2019):
       “. . . our authority over cosmetics has not modernized even as the industry has
       undergone rapid evolution.”

       “Cosmetics firms are responsible for the safety of their products and ingredients.
       However, they are not required to provide any safety information to the Agency,
       even if requested by FDA during an inspection.”

       “In recent years, our program for cosmetics is approximately $10 million and has
       represented about three percent of CFSAN’s total $327 million budget.”

       “Companies and individuals who market these products in the U.S. are
       responsible for the safety and labeling of their products. As stated above, the


2
 https://www.fda.gov/about-fda/fda-history-exhibits/80-years-federal-food-drug-and-cosmetic-
act


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       current law does not require cosmetics to be reviewed and approved by FDA prior
       to being sold to American consumers.”

       “FDA's legal authority over cosmetics is different from our authority over other
       products we regulate, such as drugs, biologics, and medical devices.” 3

        21.    The cosmetics industry has equivocated between opposing stronger federal safety
regulation and admitting its necessity, usually depending on trends in the state regulatory
environment and in private litigation.
        22.    PCPC President Edward Kavanaugh said the following at the organization’s 1995
Annual Meeting: “We begin [PCPC]’s second century with a great tradition of self regulation.
And, as long as anyone can remember, our basic mission has been the same – keep government
out of our backyard – no unnecessary or burdensome regulation.” 4
        23.     According to Hutt, Merrill, and Grossman: “The ability of the FDA to monitor
and bring regulatory action with respect to claims for cosmetic products depends on the
resources available to the agency for this purpose. Because of budgetary factors, FDA announced
in 1998 that it was reducing the staff of the Office of Cosmetics and Colors by 50 percent and
cutting back or eliminating many cosmetic regulatory programs. This reduction was so
substantial that it propelled the cosmetic industry to request and obtain restoration by Congress
of adequate funds to assure that the FDA has a credible cosmetic regulatory program.”
        24.      Appearing on behalf of the PCPC before the Health Subcommittee of the
Committee on Energy & Commerce, U.S. House of Representatives on March 27, 2012, Peter B.
Hutt said: “It is essential … that FDA regulatory authority over cosmetics is firmly established as
comprehensive and paramount. It is extremely important for the vitality of the industry that FDA
establish national standards on safety that apply in every state. It is impossible to formulate
innovative products if different safety standards apply in different states. And FDA authority is
undermined if states create regulatory régimes for cosmetics that are different from FDA
regulation of cosmetics.”
       25.     On December 29, 2022, the Modernization of Cosmetics Regulation Act of 2022
(“Regulation Modernization Act”) was signed into law by President Biden as part of the omnibus
Consolidated Appropriations Act, 2023. The Regulation Modernization Act did not
fundamentally alter cosmetics regulation, but reinforced existing obligations of manufacturers
and the cosmetics industry by increasing FDA funding and oversight authority for reporting,
product and facility registration, product recall, and safety substantiation. The Regulation
Modernization Act recognizes through federal legislation the serious risks to life and health that
cosmetics products can present, and the Regulation Modernization Act includes a section



3
  https://www.fda.gov/cosmetics/cosmetics-laws-regulations/fda-authority-over-cosmetics-how-
cosmetics-are-not-fda-approved-are-fda-regulated
4
  PCPC_MDL00015232


                                                4
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instructing FDA to issue regulations standardizing testing procedures for asbestos in talc-
containing cosmetics products.
Information and transparency for consumers are the fundamental regulatory obligations
for food, drug, and cosmetics companies.
        26.     The 1906 Pure Food and Drug Act, which was the statute that began the modern
era of federal regulation, primarily remedied concealment of actual or potential hazards to
consumers in connection with widely sold, aggressively marketed “patent medicines.”
        27.    Informational obligations were necessary in part because “patent medicine”
manufacturers did not identify the ingredients in their products, treating them as trade secrets
(few if any were actually patented, which would have required public disclosure). To this day,
“fragrance” receives similar latitude in cosmetics regulation.
        28.    The Pure Food and Drug Act required ingredient disclosure for drugs and
prohibited movement in commerce of misbranded or adulterated products. Adulteration and
misbranding are distinct but related concepts; adulteration implies misbranding because a
hazardous or unsanitary contaminant has been introduced without identification or warning to
consumers about safe versus unsafe use. In addition to empowering FDA to sue to halt
movement of offending products in commerce, adulteration and misbranding comprise part of
the core focus of federal regulation on the informational obligations of manufacturers to
consumers, which remains a foundation of cosmetics regulation.
        29.     Disclosure obligations remain principal duties of cosmetics manufacturers under
federal law. “Under the Federal Food, Drug and Cosmetic Act (FD&C Act), cosmetic products
and ingredients, with the exception of color additives, do not have to undergo FDA review or
approval before they go on the market. Cosmetics must be properly labeled, and they must be
safe for use by consumers under labeled or customary conditions of use. The law does not
require cosmetic companies to share safety information with FDA.” 5


Talcum powder products contain or may contain ingredients that pose health hazards to
consumers.

       30.     The label for Johnson’s Baby Powder lists the ingredients as Talc and Fragrance.
The label for Shower to Shower listed the ingredient as Zea Mays (Corn) Starch, Talc, Sodium
Bicarbonate, Tricalcium Phosphate, Fragrance, Maltodextrin. 6 However, the actual constituents
of Johnson and Johnson’s talcum powder products include other potentially hazardous
substances in varying amounts.
       31.     Non-asbestiform (platy) talc is the principal form of talc in talcum powder
products. Talc particles are normally plate-like. This property is valued in cosmetics and
powders because it provides softness and hydrophobicity. In 2010, IARC, based on a review of

5
    https://www.fda.gov/cosmetics/cosmetic-ingredients/talc
6
    Depending on the exact type of Shower to Shower, other ingredients may have been listed.


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the scientific literature through 2006, classified the perineal use of talc-based powder (non-
asbestiform) as possibly carcinogenic to humans (Group 2B). (IARC 2010)
        32.    Fibrous (asbestiform) talc is talc that forms as true mineral fibers, similar to
asbestos. Asbestiform refers to the pattern of mineral growth in talc - not to the presence of other
minerals – and should not be confused with talc that contains asbestos. Asbestiform talc is
classified alongside asbestos in a 2012 IARC Monograph as carcinogenic to humans (Group 1)
and causing ovarian cancer. Talc fibers occur in virtually all samples of Johnson’s talcum
powder products. 7
        33.    Asbestos: Talcum powder also can and does contain levels of asbestos. Asbestos
is carcinogenic to humans (Group 1) and known to cause ovarian cancer (IARC 2012). Johnson
& Johnson’s documents show the presence of asbestos in its talc products (Hopkins 28). Testing
from Longo and Rigler show asbestos present in approximately 68% of historical Johnson &
Johnson samples. 8 In October 2019, FDA found asbestos in a sample of Johnson’s Baby Powder
purchased online.
       34.     Fragrances: There is a mixture of 141 fragrance chemicals in Johnson’s Baby
Powder some of which are themselves mixtures of chemicals. There are 53 fragrances, some of
which are also mixtures themselves, in Shower to Shower. These include potential and known
carcinogens, toxins, and allergens (Expert Report of Dr. Crowley).
        35.     Heavy metals: Johnson’s Baby Powder products have also been shown to contain
nickel, chromium, and cobalt. (Pier Exhibit 47) Nickel and chromium are Group 1 carcinogens
according to IARC. Cobalt is a Group 2B (possibly carcinogenic) substance according to IARC
because of its inflammatory properties.
       36.     A brief history of the science relating to talcum powder and its association with
ovarian cancer is included as Appendix 1.
Under the FDCA, Johnson & Johnson must take action to prevent adulteration of its
products, inform consumers should adulteration occur, and mitigate risk through warning.
       37.    The FDCA applies its fundamental prohibition on “adulteration and misbranding”
to cosmetics. Adulteration and misbranding are concepts integral to the overall focus of
cosmetics regulation on informational obligations of manufacturers to consumers in order to
prevent harm.
        38.     In the statement referenced above, Susan Mayne explained: “In general, except
for color additives and those ingredients that are prohibited or restricted from use in cosmetics by
regulation, a manufacturer may use any ingredient in a cosmetic, provided that the ingredient
does not adulterate the finished cosmetic and the finished cosmetic is properly labeled.”

7
  Expert Report of William E. Longo, Ph D. & Mark W. Rigler, Ph. D 2019; (“The results
showed that about 4% of the airborne talc would be classed as fibrous by the NIOSH method”)
(JNJ000231601).
8
  Id.


                                                 6
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        39.     Under the FDCA, “[a] cosmetic shall be deemed to be adulterated . . . If it bears
 or contains any poisonous or deleterious substance which may render it injurious to users under
 the conditions of use prescribed in the labeling thereof, or under such conditions of use as are
 customary or usual . . . .” 21 U.S.C. § 361(a).
      40.     Adulteration empowers FDA to take legal action to prevent further movement in
 commerce of an adulterated product.
         41.    For some cosmetic ingredients, FDA has determined that certain ingredients are
 deleterious and by definition adulterants and should be prohibited in cosmetic products. See 21
 C.F.R. §§ 700.11 (bithional); 700.13 (mercury); 700.14 (vinyl chloride); 700.15 (certain
 halogenated salicylanilides); 700.16 (zirconium); 700.18 (chloroform); 700.19 (methylene
 chloride); 700.27 (cattle materials).
        42.      Current literature suggests that there is no safe level of asbestos. Asbestos when
 present in talcum powder products is an adulterant because it is hazardous to human health. 9
         43.     Adulteration implies misbranding, unless the product label is revised to identify
 the adulterant and warn consumers regarding safe use given the hazardous product contents (e.g.,
 cautioning against inhalation or perineal administration for talcum powder products), and may
 require that the manufacturer cease production or sale if there is no assurance of safe usage.
        44.    In addition to asbestos, fibrous (asbestiform) talc, heavy metals, and certain
 fragrance chemicals could be considered adulterants in talcum powder products.
 Cosmetics regulation requires manufacturers to inform consumers of both risk and
 uncertainty with respect to health hazards.
     45. Risk is a known and quantifiable probability (statistical likelihood) of harm; uncertainty
         is lack of knowledge about the existence or magnitude of risk.
     46. Information about risks of harm to health and safety is much better established for
         regulated drugs than for cosmetics because federal law requires manufacturers to submit
         comprehensive information from clinical trials in order to obtain FDA approval to sell
         and market drugs, and imposes obligations on drug manufacturers to surveil for and
         report post-marketing adverse events.
     47. Cosmetics regulation lacks these requirements that manufacturers engage in a structured,
         FDA-supervised ascertainment of risk; as a result, the health hazards of cosmetics may be
         subject to considerable uncertainty even if the existence of some significant risk is



 9
  Susan Mayne at the Cong. Hearing on the FDA in 2019. Sent clip.; Nicholson testimony
 (Forrest) NIOSH, Workplace Exposure to Asbestos 3 (1980); OSHA Position on the risk
 associated with asbestos exposure at the current PEL (May 13, 1999; https://www.fda.gov/news-
 events/fda-brief/fda-brief-fda-releases-final-report-talc-containing-cosmetic-products-tested-
 asbestos; https://www.niehs.nih.gov/health/materials/asbestos_508.pdf


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         proved. As detailed below, cosmetics regulation requires manufacturers to disclose
         uncertainty regarding safety.
      48. The research described below establishes the existence of ovarian cancer risk from
          talcum powder products. Even if the precise quantification of risk is made difficult by
          factors such as multifactorial causality, variances in usage, and latency between exposure
          and cancer presentation, the existence of multiple studies finding risk indicates that talc is
          not proved safe. Both the risk and the uncertainty must be disclosed under the law.
 Johnson & Johnson has known about risk and uncertainty regarding talc and ovarian
 cancer for decades.
      49. Three basic facts have long indicated a potential health hazard from talcum powder
          products:
                Evidence that talc particles can reach the ovary (1971)
                Epidemiology suggesting an association (1982)
                Presence of asbestos and talc fibers in Johnson’s Baby Powder (literature and
                 testing)

      50. Johnson & Johnson’s resistance to the presence in talcum powder products of fibrous
          constituents that pose risk to human health is strikingly at odds with the factual history.
          Beginning in the 1960s, the scientific literature presented evidence of talcum powder
          containing asbestos and fibrous talc. 10 Johnson and Johnson testing results and internal
          discussions also demonstrate the presence of and concern about the presence of asbestos




 10
    Cralley 1968 (“All of the 22 talcum products analyzed had an appreciable fiber content[s]
 ranging from 8% to 30% by count, with an average of 19%. The fibrous material was
 predominantly talc but probably contained minor amounts of tremolite, anthophyllite, and
 chrysotile as these are often present in fibrous talc mineral deposits.”; Rohl 1974 (“Since the
 mining of talc rock almost invariably includes the mining of asbestos as well, the asbestos
 contaminant may be carried over into the consumer products and thus introduce the risk of
 asbestos disease.”); Rohl 1976 ( “Of the 20 body powders, baby powders, facial talcums and one
 pharmaceutical talc tested, 10 contained detectable amounts of tremolite and anthophyllite,
 principally asbestiform…Fibrous talc is more pathogenic than platy talc.”); Lockey 1981 (Talc
 frequently exists in mineralogically complex deposits that are contaminate with quartz and/or
 asbestos-forming minerals, amphibole (tremolite and anthophyllite) and serpentine…Tal free of
 asbestiform minerals also exists in fibrous form…”The complexity of talc deposits is important
 when considering the potential health effects of the mineral”); Paoletti 1983 (“Samples of talc
 powders used as excipients in pharmaceutical and cosmetic preparations demonstrated fiber
 contents up to 30% of total particles. About a half of the talc powders revealed the presence of
 asbestos”); Blount 1991 (“A baby powder [confirmed Johnson’s Baby Powder in deposition]
 showed 0.4 to 0.8 million amphibole particles per milligram.”)


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         and talc fibers. 11 Drs. Longo and Rigler tested historical samples (1960s through the early
         2000s) of Johnson’s Baby Powder and Shower to Shower, finding 68% of samples testing
         positive for amphibole asbestos and 98% positive for fibrous talc. 12 A brief timeline of
         important historical events indicating a potential health hazard follows.
      51. In 1948, Johnson & Johnson Laboratories recognized the inflammatory effects of talcum
          powder in the peritoneal cavity. 13
      52. In 1952 Johnson & Johnson submitted a patent application for a “nonirritating”
          cornstarch alternative to talc. 14
      53. In 1958, asbestos was found in Johnson’s Baby Powder. (Asbestos was known to cause
          lung cancer since the 1930s and was suspected to cause ovarian cancer since the
          1960s). 15
      54. In 1971, Henderson found talc in ovarian tumors. 16
      55. In 1976, Industry (CTFA) developed the J4-1 method of asbestos detection as a self-
          regulatory standard for asbestos testing. 17
      56. In 1982, Cramer published the first epidemiological study describing an association
          between genital talcum powder use and ovarian cancer. 18
      57. In 1995, condom manufacturers voluntarily removed talc from their products because of
          ovarian cancer concerns. 19




 11
    Exhibit 28, Deposition of John Hopkins, Ph.D., In Re: Talcum Powder Prod. Liab. Litig.,
 MDL No. 2378” 2018; “Exhibit 47, Deposition of Julie Pier, In Re: Talcum Powder Prod. Liab.
 Litig., MDL 2738” 2018
 12
    Expert Report of William E. Longo, Ph D. & Mark W. Rigler, Ph. D, In Re: Johnson &
 Johnson Talcum Powder Products Marketing, Sales Practices and Products Liability Litigation
 Dated 2.2.2019
 12
    Eberl, J. J., et al. Comparative Evaluation of the Effects of Talcum and a New Absorbable
 Substitute on Surgical Gloves. Am.J Surg. 75, No. 3 (March 1948): 493–97.
 14
    P-321
 15
    30(b)(6) Deposition and Exhibits of John Hopkins Taken on 8.16.18, 8.17.18, 10.17.18,
 11.05.18, Exhibit 28
 16
    Henderson, W. J., et al. Talc and Carcinoma of the Ovary and Cervix. The Journal of
 Obstetricsand Gynaecology of the British Commonwealth 78, No. 3 (March 1971): 266–72.
 17
    PCPC_MDL00007392
 18
    Cramer, D. W., et al. Ovarian Cancer and Talc: A Case-Control Study. Cancer 50, No. 2
 (July15, 1982): 372–76.
 19
    PCPC MDL00062175


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      58. In 1999, Ness proposed a mechanism by which talc and asbestos could cause ovarian
          cancer. 20
      59. In 2008, IARC designated non-asbestiform talc as possibly carcinogenic. 21
      60. In 2012, IARC designated asbestos and fibrous talc as carcinogenic, including with
          respect to ovarian cancer. 22
      61. In 2019, FDA found asbestos in Johnson’s Baby Powder. 23
 Cosmetics regulation requires manufacturers to disclose all substantial risks, without
 regard for purported benefits.
      62. Under the FDCA, “[t]he term “cosmetic” means (1) articles intended to be rubbed,
          poured, sprinkled, or sprayed on, introduced into, or otherwise applied to the human body
          or any part thereof for cleansing, beautifying, promoting attractiveness, or altering the
          appearance, and (2) articles intended for use as a component of any such articles; except
          that such term shall not include soap.” 21 U.S.C. § 321(i)
      63. As defined by the law, cosmetics do not have any therapeutic or medicinal benefit.
          However, cosmetics and cosmetic ingredients may carry a significant risk to human
          health.
      64. For cosmetics, the risk alone determines the manufacturer’s obligations to inform
          consumers or to limit sale or to withdraw a product from the market. This is unlike
          drugs, for which the comparison of risk to benefit determines whether a drug will be
          approved by the FDA for sale and marketing, although safety labeling (warnings) is
          required for drug risks regardless of benefits.
 The FDCA’s prohibition on misbranding requires Johnson & Johnson not to mislead
 consumers, to inform consumers of specific attributes of its products, and to warn of both
 risk and uncertainty, duties that cosmetics-specific FDA regulations have expanded and
 clarified.
      65. Federal law places heightened consumer-facing informational requirements on
          manufacturers because it is the central regulatory method employed for cosmetics.

 20
    Ness RB, Cottreau C. Possible role of ovarian epithelial inflammation in ovarian cancer. J Natl
 Cancer Inst. 1999 Sep 1;91(17):1459-67. doi: 10.1093/jnci/91.17.1459. PMID: 10469746.;
 IMERYS 013188
 21
    Langseth, H., et al. Perineal Use of Talc and Risk of Ovarian Cancer. J. Epidemiol.
 Comm.Health 62, No. 4 (April 2008): 358–60; International Agency for Research on
 Cancer (IARC), Carbon Black, Titanium Dioxide, andTalc, IARC Monographs No. 93.,
 (2010).
 22
    International Agency for Research on Cancer (IARC), Arsenic, Metals, Fibres, and Dusts,
 IARCMonographs No. 100c., (2012).
 23
    Dyer O. Johnson & Johnson recalls its Baby Powder after FDA finds asbestos in sample. BMJ.
 2019 Oct 21;367:l6118. doi: 10.1136/bmj.l6118. PMID: 31636060.


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      66. Manufacturers bear near-total responsibility for making cosmetics information
          understandable and useful to consumers. Unlike drug regulation, only very rarely is there
          a physician or other expert intermediary between a cosmetics product and the consumer,
          and the FDA does not regulate the voluntary relationship between cosmetics companies
          and such intermediaries.
      67. Some cosmetics products are labeled “professional use only” and sold to cosmetologists
          or similar professionals; these have lesser labeling requirements under federal law than
          apply to products such as baby powders sold directly to consumers.
      68. According to Hutt, Merrill, and Grossman, it “is common practice for cosmetic
          companies to provide the components of their products to dermatologists to use in skin
          patch tests on patients to determine sensitivity to particular substances. … and FDA
          encourages this practice. 21 C.F.R. 720.4(b)(4).”
      69. Under the Federal Product Labeling Act (FPLA), which is enforced by the Federal Trade
          Commission with respect to many consumer products, cosmetic manufacturers must
          disclose basic information about their products.
      70. FDA requires manufacturers to label cosmetics with specific information so as to be
          apparent to consumers. See 21 C.F.R. §§ 701.1 et seq.
      71. Under the FDCA, 21 U.S.C. § 362, “A cosmetic shall be deemed to be misbranded—(a)
          If its labeling is false or misleading in any particular.” Labeling includes information that
          accompanies a product in commerce, even if not on its immediate container or packaging,
          and may include manufacturer websites.
      72. Johnson & Johnson’s website includes a prominent and easily searchable web page titled
          5 Important Facts About Talc Safety. 24That web page contains several assertions stating
          or implying the safety and purity of talcum powder products that are misleading in light
          of the scientific studies detailed above.
      73. Among other things, the Johnson & Johnson web page misleads consumers to equate
          talcum powder products with “pure” talc, fails to mention asbestos or other possible
          adulterants, states definitively that “talc” is safe and does not cause cancer, suggests
          untruthfully that FDA has determined talcum powder products to be safe, and suggests
          untruthfully that regulatory bodies in other countries have reached similar conclusions.
          In particular, the web page omits any suggestion that uncertainty exists with respect to
          the overall safety or carcinogenic risk of talcum powder products – a conclusion at odds
          with research science.




 24
   Johnson & Johnson. (2018, December 15). 5 Important Facts About the Safety of Talc.
 Content Lab U.S. https://www.jnj.com/our-products/5-important-facts-about-the-safety-of-talc


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 Cosmetics manufacturers have both general and specific duties under federal law to warn
 consumers of risk and uncertainty.
    74. Cosmetics manufacturers must warn consumers of possible health hazards, with the law
        applying a low threshold for disclosure of risk and uncertainty because cosmetics have no
        offsetting health benefits and because studies of cosmetics are infrequent and poorly
        funded compared to drugs. 21 C.F.R. §§ 740.1 et seq.
    75. 21 CFR §740.1(a) states that a cosmetic product’s label “shall bear a warning statement
        whenever necessary or appropriate to prevent a health hazard that may be associated with
        the product.”
    76. According to Hutt, Merrill, and Grossman, FDA has determined under Sections 201(n)
        and 602(a) of the FDCA that the failure of a cosmetics label to bear an appropriate
        warning constitutes misbranding.
    77. Notwithstanding the scientific research summarized above, Johnson & Johnson has not
        modified its label for talcum powder products to specify that perineal use is unsafe.
    78. FDA regulation at 21 C.F.R. § 740.1 (b) states:
                (b) The Commissioner of Food and Drugs, either on his own
                initiative or on behalf of any interested person who has submitted
                a petition, may publish a proposal to establish or amend, under
                subpart B of this part, a regulation prescribing a warning for a
                cosmetic. Any such petition shall include an adequate factual basis
                to support the petition, shall be in the form set forth in part 10 of
                this chapter, and will be published for comment if it contains
                reasonable grounds for the proposed regulation.


    79. Johnson & Johnson’s reliance on FDA’s 2014 denial of two citizen’s petitions for
        specific warning language as relieving them of a regulatory duty to warn of risk or
        uncertainty (discussed in detail below) is misplaced.
    80. That denial letter to the petitioning organization concluded merely that, in FDA’s view,
        the evidence was “insufficient for FDA” to prescribe as mandatory the “definitive
        language” that had been requested. A denial by the FDA to prescribe a specific requested
        warning under 740.1(b) does not negate the manufacturer’s responsibility to warn under
        740.1(a), which is a core obligation at the heart of the FDCA’s regulatory design.
    81. Cosmetics manufacturers are specifically required to disclose uncertainty regarding
        product safety, even if a risk has not been definitively established or quantified. 21
        C.F.R. §740.10(a) sets forth FDA regulations regarding labeling when safety is not
        adequately substantiated by the manufacturer:
                      Labeling of cosmetic products for which adequate
               substantiation of safety has not been obtained.


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                       (a) Each ingredient used in a cosmetic product and each
               finished cosmetic product shall be adequately substantiated for
               safety prior to marketing. Any such ingredient or product whose
               safety is not adequately substantiated prior to marketing is
               misbranded unless it contains the following conspicuous statement
               on the principal display panel:
                       Warning—The safety of this product has not been
               determined.

    82. 21 C.F.R. §740.10(b) emphasizes that manufacturers bear a continuing obligation to
        disclose uncertainty as new information becomes available, even if that information is not
        conclusive, subject to a narrow exception if three criteria are all met:
               (b) An ingredient or product having a history of use in or as a
               cosmetic may at any time have its safety brought into question by
               new information that in itself is not conclusive. The warning
               required by paragraph (a) of this section is not required for such an
               ingredient or product if:
                       (1) The safety of the ingredient or product had been
                       adequately substantiated prior to development of the new
                       information;
                       (2) The new information does not demonstrate a hazard to
                       human health; and
                       (3) Adequate studies are being conducted to determine
                       expeditiously the safety of the ingredient or product.


    83. Johnson & Johnson has not applied a “safety not determined” label to its talcum powder
        products notwithstanding lack of prior substantiation for safety and new information
        repeatedly demonstrating a hazard to human health. Expeditious and definitive studies to
        determine safety are impossible given long latency for carcinogenesis and other research
        challenges. There is not a single part of the three-part test for an exception to disclosure
        that has been met and evidence of uncertainty regarding product safety is abundant.
    84. The Regulation Modernization Act retains consistency with this established law, clarifying
        by addition but not materially altering manufacturers’ direct accountability and their
        obligation to substantiate in accordance with science. It provides in an added Section 608
        of the FDCA : “A responsible person for a cosmetic product shall ensure, and maintain
        records supporting, that there is adequate substantiation of safety of such cosmetic
        product.” The same section also clarifies that “The term ‘adequate substantiation of safety’
        means tests or studies, research, analyses, or other evidence or information that is
        considered, among experts qualified by scientific training and experience to evaluate the
        safety of cosmetic products and their ingredients, sufficient to support a reasonable
        certainty that a cosmetic product is safe.”



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 In addition to published literature reporting the risks of cancer, international assessments
 questioning the safety of talcum powder products also obligated Johnson & Johnson to
 comply with its specific regulatory duty to warn consumers regarding uncertainty and
 cancer risk.
    85. Johnson & Johnson has a legal duty to take account of “new information” putting the
        safety of its talcum powder products in question, even if the information is itself not
        conclusive. The general term “information” encompasses analyses and interpretations of
        existing scientific research, in addition to any new scientific research, and includes the
        findings of an international public agency such as the International Agency for Research
        on Cancer (IARC) or a national regulator outside the United States such as Health
        Canada.
    86. The International Agency for Research on Cancer (IARC) classified talc not containing
        asbestiform fibers as possibly carcinogenic in 2010 and asbestos, including asbestiform
        (fibrous) talc, as carcinogenic including ovarian cancer.
    87. IARC Monograph 93, published in 2010 based on a literature review through 2006,
        covers “Talc not containing asbestiform fibers”. The Monograph states that “asbestiform
        refers to a habit (pattern) of mineral growth and not to the presence of other minerals”
        and that “asbestiform talc must not be confused with talc that contains asbestos.” The
        IARC Working Group acknowledged that the content of body powders has changed over
        time (although data that document this are limited), but that “amphibole was voluntarily
        reduced to less than detectable levels, as least in Western Europe and the USA” in the
        mid-1970s. IARC concluded that the perineal use of talc-based powder is possibly
        carcinogenic to humans (Group 2B).
    88. IARC Monograph 100C, published in 2012, concludes that “All forms of asbestos are
        carcinogenic to humans (Group 1). Asbestos causes mesothelioma and cancer of the lung,
        larynx, and ovary.”
    89. IARC Monograph 100C covers both asbestos and fibrous talc (“The conclusions reached
        in this Monograph about asbestos and its carcinogenic risks apply to these six types of
        fibres wherever they are found, and that includes talc containing asbestiform fibres”) The
        Monograph provides a detailed discussion of occupational exposure to asbestos and talc
        in which inhalation presents the primary exposure, but this is not the only purpose. IARC
        also addresses “Exposure of the General Population:
               Consumer products (e.g. cosmetics, pharmaceuticals) are the
               primary sources of exposure to talc for the general population.
               Inhalation and dermal contact (i.e. through perineal application of
               talcum powders) are the primary routes of exposure.”

    90. The IARC Working Group concluded that a causal relationship between asbestos
        (including talc containing asbestiform fibers) and cancer of the ovary is clearly
        established. The biological plausibility for the association was derived in part from the


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         finding of asbestos fibers in the ovaries of women with potential for exposure to asbestos.
         The molecular pathogenesis (in the respiratory tract), over the course of a long latent
         period, included multiple genetic and molecular alterations involving activation of cell
         growth, gene mutations, resistance to apoptosis, genetic instability, generation of reactive
         oxygen species, and direct DNA damage.
      91. Health Canada undertook a comprehensive assessment of talc’s safety in cosmetics, with
          a draft of its findings published in December 2018 and its final assessment released in
          May 2021. Health Canada is the department of the Government of Canada that oversees
          national health policy. Health Canada is a regulatory agency that is responsible for
          product safety, drugs and health products, environmental and workplace health, food and
          nutrition, Canada’s health system, prevention and education on health-related issues, and
          health science and research. 25
      92. With respect to human health, the Health Canada screening assessment includes the
          consideration of information on chemical properties, environmental fate and behavior,
          hazards, uses, and exposures, including additional information submitted by stakeholders.
          Relevant data were identified up to October 2020. Empirical data from key studies, as
          well as results from models, were used to reach conclusions. 26 The human health portion
          of the review underwent external peer review. 27
      93. Like the cosmetic industry’s CIR review described below, the Health Canada assessment
          focused on health effects associated with cosmetic- and pharmaceutical-grade talc and
          not on potential impurities, such as asbestos. The Assessment identified no critical health
          effects via the oral or dermal routes of exposure.
      94. With regards to perineal exposure, Health Canada reached a very different conclusion
          from the cosmetic industry’s CIR Panel:


                 [A]nalyses of the available human studies in the peer- reviewed
                 literature indicate a consistent and statistically significant positive
                 association between perineal exposure to talc and ovarian cancer.
                 The available data are indicative of a causal effect. Given that there
                 is potential for perineal exposure to talc from the use of certain self-
                 care products (e.g., body powder, baby powder, diaper and rash
                 creams, genital antiperspirants and deodorants, body wipes, bath
                 bombs, bubble bath), a potential concern for human health has been
                 identified.

      95. The Health Canada report reinforces the IARC conclusions, stating: “Overall, there is a
          high degree of consistency in the epidemiological studies across several decades

 25
    www.canada.ca/en/health-canada.html
 26
    Health Canada. (2021). Health Canada Screening Assessment: Talc. Canada: Minister of
 Environment and Climate Change at 1.
 27
    Health Canada at 2.


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       conducted in different parts of the world. Although there are uncertainties related to bias,
       there is confidence in the robustness of the available database for use in characterizing
       ovarian cancer risk attributed to talc exposure. Furthermore, the available data are
       indicative of a causal relationship.”
    96. Also from Health Canada: “Based on the available data, ovarian cancer was identified as
        a critical health effect for the perineal route of exposure to talc. While animal models are
        generally inadequate to assess ovarian cancer risk, the available animal studies (noting
        inflammatory response to talc and the ability of talc particles to migrate up the
        reproductive tract) support biological plausibility and results were consistent with a
        possible human mode of action for cancer development. The database is large, and while
        cohort and case-control studies generally gave different results, the overall database
        provides adequate information to assess the risk of ovarian cancer due to talc exposure.
        There is the potential for perineal exposure to talc from the use of various self-care
        products (e.g. body powder, baby powder, diaper and rash creams, genital antiperspirants
        and deodorants, body wipes, bath bombs, bubble bath).”
    97. Health Canada notes that its “[c]haracterization of ovarian cancer risk is qualitative in
        nature as a clear dose response for ovarian cancer could not be derived from the available
        literature” but concludes that “[d]ata from meta-analyses of epidemiological studies
        indicate a consistent and statistically significant positive association between perineal
        exposure to talc and ovarian cancer.” (citing Huncharek et al. 2003; Langseth et al. 2008;
        Terry et al. 2013; Berge et al. 2018; Penninkilampi and Eslick 2018; Taher et al. 2019).
    98. Health Canada concludes: “Although some authors note concerns with regard to bias in
        the literature, considering the available lines of evidence, the current data are indicative
        of a causal effect. Given that there is the potential for perineal exposure to talc from the
        use of various self-care products, a potential concern for human health has been
        identified.”
    99. The IARC and Health Canada reports discussed above evaluated the evidence of risk that
        had been published over decades. These concerns clearly established Johnson &
        Johnson’s obligation to place on its talcum powder products the FDA-mandated warnings
        of “safety not determined” and “may be associated with a health hazard”. Although
        Johnson & Johnson has stopped manufacturing its talcum powder products in the United
        States and Canada, and has announced its intention to stop manufacturing elsewhere, no
        information regarding a possible association with ovarian cancer has been provided to
        consumers. Without detailed explanation, Johnson & Johnson has announced it will use
        cornstarch rather than talc in the manufacture of baby powder.
    Cosmetics safety depends on self regulation but, unlike drug regulation, cosmetics self-
    regulation is not supervised by the FDA or any other government agency.
    100.       Federal cosmetics regulation has always lagged federal regulation of drugs. Drug
       regulation has advanced to include direct, substantive oversight of manufacturer conduct
       by government agencies with pre-market approval of drugs only if safety and


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         effectiveness have been established. Cosmetics regulation, by contrast, has remained
         grounded in the informational obligations detailed above, with manufacturers retaining
         substantive responsibility, unsupervised by government, for substantiating safety through
         necessary testing and surveillance.
      101.       According to FDA’s website, “Companies and individuals who manufacture or
         market cosmetics have a legal responsibility to ensure the safety of their products.
         Neither the law nor FDA regulations require specific tests to demonstrate the safety of
         individual products or ingredients. The law also does not require cosmetic companies to
         share their safety information with FDA.” 28 The Regulation Modernization Act replaces
         prior voluntary reporting of safety events with a mandatory reporting system, and
         authorizes funding for that activity that had not previously been available to FDA. The
         Regulation Modernization Act does not require specific tests, although it instructs FDA
         to issue regulations regarding standardized testing for asbestos in talc-containing
         cosmetic products.
      102.      The fundamental self-regulatory obligation of cosmetics manufacturers is set forth
         at 21 CFR §740.10: “Each ingredient used in a cosmetic product and each finished
         cosmetic product shall be adequately substantiated for safety prior to marketing.”
      103.        Federal regulations prior to the Regulation Modernization Act stated: “FDA has
         no authority under the FD&C Act to order a recall of a cosmetic, although it can request
         that a firm recall a product.” 29 FDA has been able to initiate legal action to remove an
         adulterated or misbranded cosmetic product from commerce but even then has not been
         able to do so in a self-executing manner. Asbestos-contaminated baby powder and other
         asbestos-contaminated cosmetics were voluntarily recalled after FDA requests. The
         Regulation Modernization Act confers new authority on FDA to order cosmetic product
         recalls.
      104.       Public interest groups such as the Environmental Working Group have testified
         before Congress that the FDA “has little authority to review or restrict chemicals in
         cosmetics.” Testimony of Scott Faber, Senate Committee on Health, Education, Labor
         and Pensions (Sept. 22, 2016). The Regulation Modernization Act enhances this
         authority, but reaffirms and retains the primacy of manufacturer accountability for safety.
      105.       Self-regulation follows established models: It can consist of informal norms,
         industry codes of conduct, firm-based self-regulation (e.g.., corporate compliance and
         ethics programs, sometimes required by law or established by agreement with state or
         federal enforcers), statutory self-regulation (e.g., self-governing professions such as law
         or medicine), and supervised self-regulation (e.g., financial self-regulation supervised by
         the Securities and Exchange Commission). (M. Priest, Five Models of Self-Regulation)


 28
    https://www.fda.gov/cosmetics/cosmetics-laws-regulations/fda-authority-over-cosmetics-how-
 cosmetics-are-not-fda-approved-are-fda-regulated
 29
    https://www.fda.gov/cosmetics/cosmetics-recalls-alerts/fda-recall-policy-cosmetics.


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    106.       “Supervised self-regulation” has several general characteristics that were lacking
       for cosmetics under the FDCA prior to 2023, when the Regulation Modernization Act
       took effect. These include mandatory registration with and reporting to the supervising
       government agency, submission of evidence of quality and safety for supervising agency
       approval, establishment of standards of manufacture and conduct, compliance with
       standards subject to supervisory inspection or audit with the potential for discipline, post-
       marketing surveillance and reporting to the supervisor of complaints or harms.
    107.       Federal drug regulation under the FDCA follows a supervised self-regulatory
       model with initial authorization to market, approved informational labelling and
       warnings, standardized manufacturing practices, and other forms of manufacturer
       conduct requiring regulatory approval and being subject to continuing FDA oversight and
       correction.
    108.       Cosmetics self-regulation employs a mixture of informal norms, industry codes of
       conduct, and firm-based regulation, with a limited number of specific regulatory
       directives. For example, FDA regulation that requires cosmetics manufacturers to
       “substantiate safety” of their products and ingredients prior to marketing is the
       unsupervised and less detailed analog of pre-marketing approval by a supervising
       regulator. The Regulation Modernization Act affirms and reinforces this regulatory
       approach, adding only limited forms of FDA supervisory oversight such as mandatory
       safety reporting and cosmetic product recall authority.
 Johnson & Johnson claims that it has a robust ethics and compliance program of firm-
 based self-regulation that goes above and beyond the legal requirements.
    109.       Johnson & Johnson claims to be the world’s largest and most diversified
       healthcare company. (https://www.jnj.com/about-jnj) Johnson & Johnson therefore has
       the resources and experience to perform at the highest levels of firm-based self-
       regulation, yet it has failed to establish or maintain the safety of its talcum powder
       products.
    110.     Janssen Pharmaceutical Companies of Johnson & Johnson produces
       pharmaceuticals in six important therapeutic areas: Cardiovascular & Metabolism,
       Immunology, Infectious Diseases & Vaccines, Neuroscience, Oncology and Pulmonary
       Hypertension.
    111.       Johnson & Johnson Medical Devices Companies produce devices used in
       Orthopedics (artificial joints, screws, plates, nails, and implants, spinal implants, cranio-
       maxillofacial devices, power tools, and biomaterials), Surgery (sutures, biosurgery
       technologies, surgical stapling and endocutter technologies), Interventional (technologies
       for arrythmias and strokes), and Vision (products for myopia, farsightedness,
       astigmatism, beauty and performance, glaucoma, dry eye, and cataracts.
    112.     Johnson’s Baby Powder is produced by Johnson & Johnson Consumer Inc. in its
       Consumer Health Division. That part of the company claims to be “driven to improve the



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          personal health of people everywhere,” delivering “products that are rooted in science
          and endorsed by professionals.”
       113.      Its website continues: “Our differentiated portfolio of iconic brands, including
          Tylenol, Zarbee’s, Neutrogena, Aveeno, Listerine, OGX, and Johnson’s, delivers life-
          enhancing, first-to-market innovation. By combining the power of science with
          meaningful human insights and digital-first thinking, we help more than 1.2 billion
          people live healthier lives every day, from their very first day…. We are on a mission to
          ensure that all Johnson & Johnson Consumer Health brands will achieve…full
          transparency on ingredients so consumers can make informed choices.”
       114.       With the large number and wide variety of consumer and healthcare products as
          described above, Johnson & Johnson should have extensive knowledge and experience in
          regulatory matters. In its “Position on Ethics and Compliance,” Johnson & Johnson says
          as much: “Ensuring compliance with all relevant laws and regulations is a fundamental
          duty of corporations and their governance.” In addition, it claims to be “committed to
          maintaining the highest level of integrity and ethical and compliant conduct.” (Johnson &
          Johnson Position on Ethics and Compliance)
       115.       Johnson & Johnson is well aware of regulatory best practices that could guide its
          self-regulatory activities. It has extensive knowledge of and experience with FDA’s drug
          regulatory standards and practices. It observes and understands the high consumer
          expectations reflected in the adoption of new state laws, such as California’s Safe
          Cosmetics Program. It complies with other countries’ regulatory approaches (e.g.,
          regarding styrene in connection with fragrance ingredient disclosure) but it continues to
          promote talcum powder products as safe in the United States.
 Contrary to its representations regarding ethics and compliance, Johnson & Johnson has
 resisted or suppressed testing and standards for testing talc-based products instead of
 encouraging them.
       116.       As stated previously, beginning in the 1960s, the scientific literature presented
          evidence of talcum powder containing asbestos and fibrous talc. Johnson & Johnson
          testing results and internal discussions also demonstrate the presence of and concern
          about the presence of asbestos and talc fibers.
       117.      On July 8, 1971, following reports of asbestos in talc, Johnson & Johnson briefed
          FDA on the company’s process for selection and testing of talc used in its products. 30 At
          this meeting, Johnson & Johnson claimed it could detect “1% added asbestos” and
          promised to provide FDA with data to support the safety of its talc.
       118.        On September 28, 1973, the FDA published a proposed regulation for asbestos in
          talc in the Federal Register, which called for a 99.9% purity for amphibole asbestos fiber
          and 99.99% for chrysotile and proposed the use of a polarized microscope.


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      119.       In 1974, Johnson & Johnson claimed in a letter to the FDA that “a substantial
         safety factor can be expected with talc containing 1% w/w asbestos fibers[] . . . [and]
         methods capable of determining less than 1% asbestos in talc are not necessary to assure
         the safety of cosmetic talc.
      120.       On December 17, 1974, Johnson & Johnson sent a letter to PCPC about talc
         testing standards: “The talc task force has completed the process of development of
         analytical procedures for determining the presence of chrysotile and tremolite in talc. We
         believe it is critical for the C.T.F.A. to now recommend these methods to the F.D.A.
         before the art advances to more sophisticated techniques with higher levels of
         sensitization.” 31
      121.       On January 30, 1975, Johnson & Johnson held an internal meeting to discuss
         issues related to talc. 32 In this meeting, “[f]inal recommendations were forwarded by the
         Task Force . . . [and] [l]imits of detectability in cosmetics talcs have been determined to
         be 0.5 – 1.0%.”
      122.      According to Hutt, Merrill, and Grossman, in March 1975, FDA announced that
         the proposed regulations for asbestos content in talc would be delayed, in part because
         the proposed method was “difficult to use, laborious, and not practical for its intended
         purpose.” 33
      123.       In 1976, the CTFA published the J4-1 method for detecting “Asbestiform
         Amphibole Minerals in Cosmetic Talc.” 34 This method became the industry standard for
         testing for asbestos in talc and 1976 is widely cited in scientific literature as the date after
         which no asbestos has been present in talc because of these specifications. 35 The
         peculiarity of retaining without reconsideration for nearly half a century a testing method
         clearly at odds with current science is repeatedly noted in the White Paper issued in late
         2021 by the federal government’s Interagency Working Group on Asbestos in Consumer
         Products. 36
      124.       At no point has the FDA issued any regulation dictating testing specifications for
         detecting asbestos in talc and instead has relied on industry substantiation of safety.
         Recognizing the inadequacy of this situation given industry’s poor track record of
         incorporating established science into testing talc-based cosmetic products for potentially

 31
    JNJ000267138
 32
    JNJ000025189
 33
    Hutt, P.B. "A History of Government Regulation of Adulteration and Misbranding of
 Cosmetics," Chapter 1 in Cosmetic Regulation in a Competitive Environment (2000);
 Rules and regulations. Fed Regist 1975; 40: 11865–11869
 34
    PCPC_MDL00007392
 35
    See, e.g., Fiume et al. (2015) (“In 1976, specifications for cosmetic talc requiring that no
 detectable fibrous, asbestos mineral be present were developed. Therefore, this report will only
 address the safety of talc that does not contain asbestos.”)
 36
  Interagency Working Group on Asbestos in Consumer Products (IWGACP), White Paper: IWGACP Scientific
 Opinions on Testing Methods for Asbestos in Cosmetics Products Containing Talc (Dec. 2021).


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       harmful components or contaminants, the Regulation Modernization Act requires FDA to
       develop and issue regulations for asbestos testing.
    125.       In sum, Johnson & Johnson manipulated asbestos testing and associated publicity
       so that “none detectable” would be interpreted as “none,” distancing itself from
       allegations of asbestos contamination but never actually eliminating asbestos
       contamination.
 CIR appears and purports to be a supervised. independent self-regulatory testing and
 evaluation body, but it is not supervised by FDA and its evaluations favor industry
 interests.
    126.       The Cosmetic Ingredient Review (CIR) was formed by PCPC (then CTFA) in
       1976. According to PCPC President Edward Kavanaugh in 1995: “CIR began in 1976 in
       response to Congressional concerns raised about the safety of cosmetic ingredients, and
       the need to ensure a totally unbiased review of safety. That could have meant federal
       regulation. CIR is a key reason why we have voluntary, self-regulation instead.”
       [PCPC_MDL00015248]
    127.      CIR is comprised of staff members and an expert panel and is overseen by a
       Steering Committee. [CIR Procedures, IMERYS 118788]. CIR is funded by PCPC,
       shares office space with PCPC, and CIR staff members are paid by PCPC. CIR expert
       panel members are selected by the Steering Committee, which includes representatives
       from the cosmetic industry as well as PCPC.
    128.      FDA has no regulatory authority with respect to CIR, other than to interact
       voluntarily with it. FDA cannot instruct CIR on what to review. FDA cannot instruct
       CIR on how to conduct its reviews. FDA cannot reject a CIR review finding.
    129.        CIR reviews ingredients based on a priority list and ultimately issues conclusions
       in a final report that is then published in the International Journal of Toxicology. As part
       of its conclusions, CIR categorizes ingredients in one of the following categories:
              Safe as used
              Safe with qualifications
              Zero uses
              Insufficient data
              Prohibited/Restricted by FDA
              Unsafe
              Use not supported

    130.       CIR overwhelmingly confirms safety, and only rarely opines that insufficient data
       exist to make a determination or that an ingredient is unsafe. In combination with the
       fact that the “safety not determined” warning required by FDA is almost never used, it
       seems that one of the most useful self-regulatory functions CIR could perform has been
       neglected by it.



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      131.      According to CIR Procedures, “’Safe’ or ‘safety’ means no evidence in the
         available information that demonstrates or suggests reasonable grounds to suspect a
         hazard to the publish under the conditions of use that are now current or that might
         reasonably expected in the future, . . .” Since its inception, CIR has reviewed thousands
         of cosmetic ingredients but only determined that 12 are unsafe. 37
      132.     FDA has only banned 11 cosmetic ingredients. 21 C.F.R. § et seq. 700.11 et seq. 38
         The European Union, in comparison, has banned the use of 1,644 cosmetic ingredients. 39
      133.      In an industry meeting in 2000, the meeting notes reflect that “input from outside
         attendees is welcome at the meetings [of the CIR] and can have a major impact on the
         outcome of the deliberations.” [PCPC0082734] During and prior to the talc review
         process, industry monitored and communicated with CIR about the review. In a May
         2005 email, a Johnson & Johnson employee notes that talc is on the CIR “priority list.”
         [JNJ 000388747]
      134.       Imerys Talc (formerly Luzenac and Rio Tinto) hired the Center for Regulatory
         Effectiveness (CRE) as a consultant on talc, and as part of these consulting services,
         William Kelly of the CRE communicated with and provided information to the CIR
         during their review process.
      135.      In September 2006, Rich Zazenski circulated a summary from William Kelly
         about a recent CIR meeting Mr. Kelly attended. The summary notes that “CIR staff has
         begun gathering information for the talc Scientific Literature Review, but has not begun
         writing it.” [IMERYS-A_0002859]
      136.      On April 18, 2008, William Kelly reported that he attended a CIR meeting and
         talked with CIR staff and the CIR Director about the talc review. [IMERYS 280713]
      137.      On August 4, 2009, William Kelly submitted a letter with commentary and a
         bibliography to CIR Director Alan Anderson. [IMERYS 275357]
      138.        On October 7, 2011, CIR Director Alan Anderson emailed Monice Fiume of the
         CIR and directed her to reach out to William Kelly to ask that he submit information on
         talc so it could be included in the CIR’s Scientific Literature Review.
         [PCPC_MDL00017752]
      139.       On October 14, 2011, William Kelly relayed to Shripal Sharma at Imerys Talc
         that he spoke with Monice Fiume of the CIR, “the lead on the talc review at CIR[.]” 40


 37
    https://cir-safety.org/sites/default/files/U-breakout-092020r.pdf
 38
    https://www.fda.gov/cosmetics/cosmetics-laws-regulations/prohibited-restricted-ingredients-
 cosmetics
 39
    https://ec.europa.eu/growth/tools-databases/cosing/pdf/COSING_Annex%20II_v2.pdf
 40
    Monice Fiume holds B.S. and M.B.A. degrees, but no advanced degrees in any scientific field.
 https://www.cir-safety.org/about


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         According to Kelly, she told him that “[s]he has not yet started on the SLR [Scientific
         Literature Review], and does not think that it will be released for public comment until
         mid-2012 at the earliest . . . .” but that “CIR would welcome any input from industry on
         the review at any time, including now.” [IMERYS 065205]
      140.      In December 2012 and February 2013, CIR released draft reports on the Safety
         Assessment of Talc as Used in Cosmetics. [IMERYS 173648] On April 12, 2013, the
         CIR released its Final Report on the Safety Assessment of Talc as Used in Cosmetics.
         [2013 CIR Final Report]
      141.      The only comments received at any stage in the review process were from
         cosmetic industry companies, consultants, or PCPC. [IMERYS 173648] Following the
         submission of the final report in 2013, industry consultant William Kelly stated in an
         email that “the CRE engineered the CIR report from the outset…” [MBS-CRE 271]
      142.      In 2015, the CIR’s assessment was published in the International Journal of
         Toxicology. Fiume et al. Safety Assessment of Talc as Used in Cosmetics, 34 Int’l J.
         Tox. 665 (2015). 41
      143.       The CIR Panel commented that the safety of talc had been the subject of debate
         through the years, partly because the “relationship between talc and asbestos is
         commonly misunderstood.” Asserting that “Industry specifications state that cosmetic-
         grade talc must contain “no detectable fibrous, asbestos minerals,” however, the Panel
         did not consider studies in which talc explicitly contained asbestos.
      144.        The CIR Panel reviewed a wide variety of products containing talc (e.g. body
         powders, makeup, hair shampoos and dyes, nail polish, shaving creams, deodorants, etc.),
         and determined that talc is safe in the present practices of use and concentration except
         for the application “to the skin when the epidermal barrier is missing or significantly
         disrupted.” This recommendation was based on case-reports of granuloma formation in
         this setting. The Panel did not cite reports of granuloma formation and other
         inflammatory reactions in the peritoneal cavity when exposed to talc. Nor did the Panel
         consider the potential effects on the non-squamous cells of peritoneal surfaces, fallopian
         tubes, and ovaries or the frequent disruptions of the epithelial surface of the ovary with
         ovulation, ruptured cysts, infection, endometriosis and other physiologic and non-
         physiologic events.
      145.       The CIR review compares unfavorably in methodology, interpretation of the
         literature, and conclusions reached with the 2021 Health Canada assessment. A
         comparison of the two assessments is contained in Appendix 2.



 41
   Despite stating that “[t]he articles . . . were sponsored by the Cosmetic Ingredient Review[]”
 which is “financially supported by the Personal Care Products Council[,]” the authors do not
 disclose that several of the authors are actually directly employed by PCPC (Fiume, Boyer,
 Anderson).


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 FDA has statutory authority to undertake its own evaluative activities for cosmetics, but it
 is underfunded, under-informed by the cosmetics industry, and often unwilling to take
 action even in response to citizen petitions.
    146.       Federal law allows individuals or companies to file petitions requesting that the
       FDA take or refrain from taking regulatory action – these are referred to as Citizen
       Petitions. The majority of Citizens Petitions filed with the FDA concern drugs and
       medical devices and it appears that only a small number of petitions concern cosmetics.
       Chen et al., Petitioning the FDA to Improve Pharmaceutical, Device and Public Health
       Safety by Ordinary Citizens: A Descriptive Analysis 11 PLoS ONE 137 (2016). 21
       C.F.R. §§ 10.20, 10.25, and 10.30 describe the general administrative process for
       submitting a Citizen Petition to the FDA.
    147.       Most Citizen Petitions (over 80%) are filed by companies that have commercial
       interests in products regulated by the FDA. Of the relatively small number of Citizen
       Petitions filed by individuals and nonprofits, most are denied by the FDA (almost 90%).
    148.       1 C.F.R. § 740.1 specifically allows citizens to file petitions seeking warning
       statements on cosmetics. (“The Commissioner of Food and Drugs[] . . . on behalf of any
       interested person who has submitted a petition, may publish a proposal to establish or
       amend, under subpart B of this part, a regulation prescribing a warning for a cosmetic.”)
       Citizen Petitions may also request that the FDA declare a product or ingredient to be
       hazardous, or address almost any other regulatory concern.
    149.       It often takes the FDA years to formally respond to Citizen Petitions.
    150.       The FDA can respond to Citizen Petitions in one of four ways:
              (i) Approve the petition, in which case the Commissioner shall
              concurrently take appropriate action (e.g., publication of a Federal
              Register notice) implementing the approval;
              (ii) Deny the petition;
              (iii) Dismiss the petition if at any time the Commissioner determines
              that changes in law, facts, or circumstances since the date on which
              the petition was submitted have rendered the petition moot; or
              (iv) Provide a tentative response, indicating why the agency has
              been unable to reach a decision on the petition, e.g., because of the
              existence of other agency priorities, or a need for additional
              information. The tentative response may also indicate the likely
              ultimate agency response, and may specify when a final response
              may be furnished.
              21 C.F.R. § 10.30(e)(2)(i)-(iv).
    151.      On November 17, 1994, Dr. Samuel Epstein of the Cancer Prevention Coalition
       submitted a Citizen Petition to the FDA asking that the FDA require the following
       warning on all talcum powder products: “Talcum powder causes cancer in laboratory
       animals. Frequent talc application in the female genital area increases risk of ovarian



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       cancer.” [1994 CPC Citizen Petition] The petition cites epidemiology studies, human
       laboratory studies, and animal laboratory studies conducted from the 1960s to the 1990s.
    152.       On July 11, 1995, Dr. John Bailey, acting director of the FDA Office of
       Cosmetics and Colors, responded to the CPC but explained that the FDA has “not been
       able to reach a decision on your petition within the first 180 days of the filing of the
       petition because of the limited availability of resources and other agency priorities.”
       [1995 FDA Response Letter] The FDA did not take any further action on this Citizen
       Petition until the late 2000s.
    153.       On May 13, 2008, Dr. Epstein of the CPC again submitted a Citizen Petition to
       the FDA asking that the FDA require the following warning on all talcum powder
       products: “Frequent application of talcum powder in the female genital area substantially
       increases the risk of ovarian cancer.” [2008 CPC Citizen Petition] The 2008 Petition
       provides a detailed statement of grounds including some not contained in the 1994
       Petition. The FDA did not take any further public action on this Citizen Petition until
       2014.
    154.      On April 1, 2014, the FDA issued a letter denying the CPC’s 1994 and 2008
       Citizen Petitions. The letter includes the following statements:


       “A cogent biological mechanism by which talc might lead to ovarian cancer is
       lacking; exposure to talc does not account for all cases of ovarian cancer; and
       there was no scientific consensus on the proportion of ovarian cancer cases that
       may be caused by talc exposure.” (at 4-5)

       “…the potential for talc particulates to migrate from the perineum and vagina to
       the peritoneal cavity is indisputable. It is, therefore, plausible that perineal talc
       (and other particulate) that reached the endometrial cavity, Fallopian Tubes,
       ovaries and peritoneum may elicit a foreign body reaction and inflammatory
       response that, in some exposed women, may progress to epithelial cancers.” (at 5)

       “The best evidence for an association or causal relationship between genital talc
       exposure and ovarian cancer comes from epidemiologic data which show a
       statistically significant but modest increased risk of epithelial ovarian cancer,
       especially with serous histology, among women with a history of genital dusting
       with talcum powder. While the growing body of evidence to support a possible
       association between genital talc exposure and serous ovarian cancer is difficult to
       dismiss, the evidence is insufficient for FDA to require as definitive a warning as
       you are seeking.”

    155.        The 2014 FDA denial letter is not well drafted. For example, the first part of the
       first statement above is inconsistent with the second statement, which posits a biological
       mechanism for talc carcinogenesis. The second and third parts of the first statement,
       focusing on the percentage of ovarian cancers that are talc-related, seem irrelevant to the



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           question of whether talc exposure causes ovarian cancer although it bears on the
           difficulty of quantifying risk.
       156.       The FDA denial letter is only denying the citizen request to issue its own specific
          warning language about the risk; it does not affect the manufacturer’s independent legal
          obligation to warn of hazards, which is in the immediately preceding subsection of the
          regulation. Moreover, the FDA letter makes it clear that talc has not been proved safe and
          reinforces the conclusion that a “safety not determined” warning from the manufacturer is
          required. The FDA letter states that the science on baby powder and ovarian cancer is
          concerning and suggestive, which itself should constitute “new information” sufficient to
          trigger that warning.
       157.      The Regulation Modernization Act authorizes additional funding for FDA’s
          cosmetics regulatory activities, offering hope that future citizen petitions and similar
          requests for action will generate prompt and protective agency responses under the
          expanded legal authority that now exists.


 There are procedures established for the cosmetics industry to involve FDA in the self-
 regulation process, but Johnson & Johnson did not take advantage of these opportunities.
       158.       Prior to the very recent adoption of the Regulation Modernization Act, cosmetics
          regulation lacked statutory authority for mandatory reporting to regulators, as applies to
          drugs, because drugs are subject to FDA supervision of industry review for safety and
          effectiveness and cosmetics are not. FDA regulations do provide for a voluntary reporting
          system for registering facilities that manufacture cosmetics and for registering cosmetic
          ingredients. 21 C.F.R. Part 710 & Part 720. The FDA manages these voluntary reports
          through the Voluntary Cosmetic Registration Program (VCRP). 42 The Regulation
          Modernization Act phases out the VCRP and provides for a transition to a system of
          mandatory cosmetic product and facility registration, as well as mandatory reporting of
          adverse events.
       159.        There is no evidence that Johnson & Johnson registered all of the ingredients in
          their talcum powder products, and only registered ingredients listed on the product labels.
       160.      Companies can also voluntarily report adverse events related to cosmetics through
          the FDA Adverse Events Reporting System (FAERS) of the Center for Food Safety and
          Applied Nutrition’s Adverse Event Reporting System (CAERS).
       161.       Johnson & Johnson has filed a small number of talcum powder-related adverse
          events reports, primarily (if not solely) in connection with being a named defendant in a
          legal complaint alleging physical injury to a consumer.




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      https://www.fda.gov/cosmetics/voluntary-cosmetic-registration-program#about


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    162.      At any time, Johnson & Johnson could have informed FDA of findings of
       asbestos, fibrous talc, and heavy metals in its talcum powder products.
 Cosmetics regulation may be on the verge of significant reform and improvement because
 of unprevented harm to consumers, including talc-related injury, whether or not
 manufacturers cooperate. The Regulation Modernization Act, adopted in 2022, is an
 important step in this direction.
    163.      Litigation is not inconsistent with regulation. Personal injury litigation often
       provides important information to public policymakers, and it helps fill gaps in regulatory
       design and development. (Sage, Litigation and Regulation)
    164.      Cosmetics were incorporated into the food and drug regulatory regime during the
       1930s because of reported harms to consumers.
    165.       The FTCA’s pre-market approval requirements for drug safety and other
       expanded legal authorities, including for cosmetics, followed tragic events associated
       with the oral antibiotic elixir sulfanilimide. A medication that killed over 100 people
       could only be seized under prevailing law by FDA because it was dissolved in diethylene
       glycol, a deadly poison, rather than in alcohol as the term “elixir” implies, and was
       therefore misbranded.
    166.       Thalidomide birth injuries, prevented in the US by a dedicated FDA scientist, led
       to the enactment of effectiveness requirements for drug approval under the Kefauver-
       Harris Drug Amendments of 1962.
    167.      In recent years, there has been renewed interest by the FDA and Congress
       concerning the safety of cosmetic talcum powder products, and, more generally, in
       FDA’s authority to regulate the cosmetic industry.
    168.      In 2016, the Senate Committee on Health, Education Labor and Pensions
       convened a hearing entitled “Exploring Current Practices in Cosmetic Development and
       Safety.” Senator Diane Feinstein testified in support of a proposed law she co-sponsored
       with Senator Susan Collins: the Personal Care Product Safety Act. In her testimony,
       Senator Feinstein discussed the outdated laws governing cosmetic regulation and the
       need for updated laws to address the safety of cosmetic products.
    169.      Findings of asbestos contamination in one production lot of Johnson’s Baby
       Powder and in cosmetics sold by retailers Claire’s and Justice, were among the
       developments prompting a re-examination of cosmetics regulation by FDA leadership
       during the Trump administration. (Statement from Scott Gottlieb and Susan Mayne,
       March 5, 2019)
    170.       On March 12, 2019, the House Subcommittee of Economic and Consumer Policy
       of the Committee on Oversight & Reform held a hearing entitled “Examining the Public
       Health Risks of Carcinogens in Cosmetic Products.” [Hearing Transcript] The hearing
       was held in response to reports that Johnson & Johnson knew its products contained


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         asbestos as well as recent testing results by FDA that showed asbestos in other cosmetic
         products. Two other related hearings follow later in 2019.
      171.     On December 4, 2019, the House Subcommittee of Health of the Committee on
         Energy and Commerce held a hearing entitled “Building Consumer Confidence by
         Empowering FDA to Improve Cosmetic Safety.”
      172.      On December 10, 2019, the House Subcommittee of Economic and Consumer
         Policy of the Committee on Oversight & Reform held a hearing entitled “Examining
         Carcinogens in Talc and the Best Methods for Asbestos Detection.”
      173.       Several bills were introduced or reintroduced during the 117th session of Congress
         (2021-2022) by Senators Feinstein, Collins, Hatch, Paul, and others. Provisions from
         these bills, as modified, ultimately were incorporated into the Regulation Modernization
         Act and passed and signed into law on December 29, 2022 as part of the omnibus
         Consolidated Appropriations Act, 2023.

 D.      Summary of Opinions

      174.      The cosmetic industry is self-regulated. Self-regulation depends on
         manufacturers selling only safe products containing safe ingredients, and on responsible
         disclosure of product information by manufacturers to consumers and voluntary reporting
         by manufacturers of such information to FDA. Federal food, drug, and cosmetics law
         enforces these obligations of product safety and information disclosure.
      175.       FDA does not supervise the self-regulation of cosmetics, whereas FDA closely
         supervises the self-regulation of drugs. Self-regulation of cosmetics is principally firm-
         based, with individual manufacturers committing to follow ethical and scientific
         practices, supported by industry norms and codes of conduct. Small modifications and
         improvements to this framework under the Regulation Modernization Act do not alter,
         and in fact reaffirm, this basic fact.
      176.       Johnson & Johnson did not establish or maintain the safety of its talcum powder
         products. Johnson & Johnson knew its products contained carcinogens, including
         asbestos, fibrous talc, and heavy metals. Johnson & Johnson did not perform studies on
         talcum powder that would address the concerns being raised in the medical and scientific
         literature. (O’Shaughnessy and Wille depositions)
      177.      Johnson & Johnson did not respond to or notify FDA of information that its
         talcum powder products and their ingredients may be associated with a health hazard.
      178.      Johnson & Johnson did not supply required warnings to consumers of health
         hazards associated with its talcum powder products.
      179.        Johnson & Johnson did not supply required warnings to consumers that the safety
         of its talcum powder products had not been determined.



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    180.       Johnson & Johnson did not register its cosmetics accurately, did not inform FDA
       of positive testing results, and did not consistently report adverse events.
    181.       Johnson & Johnson marketed and sold a misbranded and adulterated product.
    182.      By relying on corporate and industry assessments that failed to frame or resolve
       key scientific questions, Johnson & Johnson assumed the safety of its products rather
       than substantiating it.
    183.      Johnson & Johnson did not inform consumers of risks or uncertainty about risks,
       and misled them with continued reassurances about safety and purity.
    184.       Johnson & Johnson did not follow its own safety standards or corporate pledge of
       legal compliance and ethical self-governance beyond what the marketplace had always
       accepted.




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 Appendix 1: Summary of scientific evidence relating to talcum powder and its association
 with ovarian cancer

          1.     In 1948, the Laboratories of Johnson & Johnson published an article describing
 the “incontrovertible evidence of the local irritant action” and the “potential hazards” from the
 use of talcum. (Eberl 1948). In a 1952 patent application for a starch derivative as a substitute
 for talc on surgical gloves, J&J cited the convincing evidence of strong inflammatory reactions,
 postoperative complications, and adhesions when talc was introduced into the peritoneal cavity.
          2.     In 1971, working at the Tenovus Institute for Cancer Research in Wales, electron
 microscopist, W.J. Henderson published his findings of talc particles deeply embedded in tissue
 from patients with ovarian tumors. This group had previously developed a technique for the
 study of foreign particles within tissues and had identified crocidolite asbestos within
 mesotheliomas. The authors raised the question of the association of talc with asbestos and the
 possibility of a relationship between the two minerals and carcinomatous changes in the ovary.
 (Henderson 1971).
          3.     Throughout the 1970s, there was a great deal of interest and research in the
 etiologies of gynecologic malignancies led by Dr. Donald Woodruff, widely considered the
 father of gynecologic pathology and Professor at Johns Hopkins. Dr. Woodruff began raising
 concern at lectures and in publications that there could be an environmental component in the
 pathogenesis of ovarian cancer, considering the unique nature of the female reproductive tract
 and ovarian tissue. He proposed that substances, specifically talc, could potentially reach the
 peritoneal cavity through the fallopian tube, produce proliferation, and contribute to the
 development of malignancy. (Parmley and Woodruff 1974; Woodruff 1979).
          4.     Dr. Woodruff, in “cruel and pessimistic words”, described the prolonged
 debilitating and dehumanizing nature of death from ovarian cancer. He asked that more attention
 be paid to patients-at-risk and the agents introduced into the vaginal canal that may be
 transmitted to the peritoneal cavity with resultant mesothelial proliferation, and potential means
 of prevention, emphasizing that “AN OUNCE OF PREVENTION IS WORTH A POUND OF
 CURE.” [caps Dr. Woodruff] (Woodruff 1979).
          5.     A series of articles and communications in the Lancet in the late 1970s and early
 1980s discussed similar concerns regarding the use of a talc-dusted diaphragm or condom during
 intercourse. In a 1979 article titled Controversy, Longo and Young at the National Cancer
 Institute specifically cautioned the cosmetic industry:

                What is disturbing is that a consultant to the cosmetic industry feels that
                further research on the biological effects of talc ‘merits little
                priority’…Talc is known to elicit potent inflammatory responses in man
                when found in the lungs, pleural cavity, and peritoneal cavity. To assume
                that its presence in diseased reproductive organs is benign on the basis of
                finding it in normal reproductive organs as well ignores its potential role
                as a co-carcinogen and is similar to arguments voiced against many agents
                which have already been proven carcinogenic. (Longo and Young 1979).




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          6.      In 1995, the condom industry voluntarily chose to stop dusting condoms with talc
 due to ovarian cancer concerns. (PCPC MDL00062175)
          7.      The female reproductive tract has long been recognized as an open system and
 numerous substances have been shown to migrate or be transported to the peritoneal cavity and
 ovaries, including dead sperm or inanimate sperm particles, inert carbon particles, retrograde
 menstruation, particulate radioactive material, and starch particles. (Expert reports of Drs.
 Clarke-Pearson, Smith, and Wolf). These researchers consistently recognized the significance of
 these findings. For example, Venter and Iturralde, who studies particulate radioactive material,
 stated “Such migration could well explain the aetiological role of chemical substances in certain
 gynaecological diseases. . . If transit can take place so easily, it is probably the same for many
 chemical substances used for hygienic, cosmetic, or medicinal purposes, many of which may
 have potential carcinogenic or irritating properties.” (Venter and Iturralde 1979) Sjosten et al.,
 who studied corn starch stated, “any other potentially harmful substances that can migrate from
 the vagina should be avoided.” (Sjosten 2004).
          8.      In 1982, Cramer with a multi-disciplinary team at Harvard that included
 epidemiology, pathology, and obstetrics and gynecology and sponsored by an NIH grant,
 published the first epidemiologic study showing an association between genital talcum powder
 use and ovarian cancer. This study was undertaken to address the possibility that ovarian cancer
 may be caused by certain minerals such as talc and asbestos that had been raised by other
 researchers. The authors described four elements in the argument linking talc and ovarian cancer:
 1) the chemical relationship between talc and asbestos, 2) asbestos as a cause of pleural and
 peritoneal mesotheliomas, 3) the possible relationship between epithelial ovarian cancer and
 mesothelioma, and 4) the ability of talc to enter the pelvic cavity. Women who regularly used
 talcum powder as a dusting powder on the perineum and on sanitary napkins had a statistically
 significant adjusted relative risk of 3.28. Women with any perineal exposure had a relative risk
 of 1.93 (1.27-2.89). (Cramer 1982).
          9.      There have been approximately 28 case-control studies of talcum powder
 exposure and ovarian cancer, five studies reporting on 3 cohort studies, 7 meta-analyses of all
 epidemiologic studies up the published date, one pooled analysis of 8 case-control studies, and
 one pooled analysis of four cohort studies. (Expert Reports of Drs. McTiernan, Siemiatycki, and
 Smith-Bindman). The data from the meta-analyses show a consistent, statistically significant,
 increased risk of ovarian cancer with the regular genital use of talcum powder products. The
 pooled case-control analysis found similar statistically significant increased risks for epithelial
 ovarian cancer. (Terry 2013) A 2018 meta-analysis found a statistically significant 24%-39%
 increased risk of ovarian cancer. The authors concluded that the relationship with serous
 carcinoma was suggestive of a causal association. (Penninkilampi 2018) Although a recent
 pooled cohort analysis found a non-statistically significant 8% increased risk in women overall, a
 statistically significant 13% increased risk of ovarian cancer in women with patent genital tracts.
 (O’Brien 2021) The increased risk varies between 20-30% among studies and up to 50% when
 considering regular talcum powder use and the serous (most common) subtype of epithelial
 ovarian cancer. (Expert Reports of Drs. McTiernan, Siemiatycki, and Smith-Bindman)
          10.     Dr. William Longo and Dr. Mark Rigler have tested historical samples of
 Johnson’s Baby Powder and Shower to Shower from the 1960s through the early 2000s and
 found that 98% of 56 samples contained fibrous talc and 68% of 65 samples contained asbestos.


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 (Longo and Rigler Expert Report 2019). In addition, I have seen numerous Johnson and Johnson
 testing results showing the presence of asbestos in their talcum powder products. (Exhibit 28,
 Deposition of John Hopkins, Ph.D., MDL No. 2378, 2018; Exhibit 47, Deposition of Julie Pier,
 MDL No. 2738, 2018).
         11.      In October, 2019, FDA found asbestos in a sample of Johnson’s Baby Powder,
 resulting in Johnson & Johnson recalling 33,000 bottles from one lot. (BMJ 2019).
         12.      Talcum powder also contains nickel and chromium (Group 1 carcinogens), cobalt
 (Group 2B carcinogen) and fragrance chemicals, some of which are known to be inflammatory
 agents, toxins, and carcinogens. (Expert reports of Drs. Clarke-Pearson, Smith, and Wolf; Expert
 report of Dr. Crowley).




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 Appendix 2: Comparison of CIR and Health Canada Assessments

 1.    Safety:
       •       Health Canada: The available data are indicative of a causal effect between the
               perineal exposure to talc and ovarian cancer.
       •       CIR: Talc is safe in the present practices of use and concentration.
 2.    Epidemiologic Studies:
       •       Health Canada: There is a high degree of consistency in the epidemiological
               studies across several decades conducted in different parts of the world.
               Conclusion is based on 1) the pooled ORs from available meta-analyses range
               from 1.22 to 1.35; 2) these results are statistically significant, with narrow
               confidence intervals; 3) case-control designs are well suited to study perineal talc
               exposure and ovarian cancer and the available cohort studies are not without
               limitations; and 4) there is confidence in the robustness of the available database
               for use in characterizing ovarian cancer risk attributed to talc exposure.
       •       CIR: Numerous epidemiological studies do not support a causative relationship
               between the cosmetic use of talc in the perineal area and ovarian cancer.
               Conclusion is based on 1) lack of consistent statistically significant positive
               associations across studies; 2) uniformly small RR estimates in studies reporting
               positive associations; and 3) failure to rule out plausible alternative explanations
               of the statistically significant results, including biases, confounding risk factors,
               and exposure misclassifications.
 3.    Migration of particles:
       •       Health Canada: The available animal and human studies clearly indicate that
               particles, including talc, may transfer from the vagina to the fallopian tubes and
               ovaries following perineal application. (p. 33) Migration or retrograde movement
               of talc particles from the vagina to the ovaries has been identified as a plausible
               explanation of the presence of talc particles in the upper reproductive tract.
               (Henderson et al. 1986; Heller et al. 1996; Cramer et al. 2007). (18) Evidence
               considered: FDA 2014 “indisputable”, Schildkraut 2016, Wehner 1977b,
               Zervomanolakis 2007, Peters 2006, Henderson 1986, Phillips 1978, Wehner),
               Edelstam 1997, Sjosten 2004, Egli & Newton 1961, DeBoer 1972, Kunz 1996,
               Kissler 2004, McDonald 2019a, Johnson 2020.
       •       CIR: Causation would depend on migration of talc from the perineum and
               ovaries. Persuasive evidence that talc can migrate from the perineum to the
               ovaries is absent. This conclusion is based on 1) there is no conclusive
               explanation for the presence of talc in the ovaries reported in some studies and 2)
               there is no known physiological mechanism by which talc can plausibly migrate
               from the perineum to the ovaries. For this conclusion, CIR relies heavily on non-
               human studies, appears to discount the conclusions of the authors of the relevant
               studies, and ignores the extensive literature relating to the uterine peristaltic pump
               and other physiologic processes in the female reproductive tract.
 4.    Talc is inflammatory in tissue:
       •       Health Canada: An inflammatory response associated with talc has been clearly
               demonstrated in human lung tissue. While animal models are generally
               inadequate to assess ovarian cancer risk, the available animal studies (noting


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              inflammatory response to talc and the ability of talc particles to migrate up the
              reproductive tract) support biological plausibility and results were consistent with
              a possible human mode of action for cancer development.
      •       CIR: The inflammatory properties of talc are discussed in humans and animals in
              multiple places in the CIR assessment; However, this fact is discounted or ignored
              when assessing the implications for a relationship between talc exposure and
              ovarian cancer. For example, the Panel states that “talc is not allowed for use on
              the surface of medical gloves” and should not be applied to the skin when the
              epidermal barrier is missing or significantly disrupted - but does not discuss why
              this is important.
 5.   Inflammation and ovarian cancer:
      •       Health Canada: There is support for an association between inflammation and an
              increased risk of ovarian cancer.
 6.   CIR: Although the Panel admits that some researchers have suggested that talc in the
      ovaries could cause cancer, indirectly, through a talc-induced inflammatory response,
      analogous to the action of asbestos fibers in the lungs, it concludes that a plausible
      biologic mechanism is absent. The CIR bases this conclusion on the statement that pelvic
      inflammatory diseases, such as endometriosis, peritonitis, and tubo-ovarian abscess
      formation, have not been found to be associated with increased risks of ovarian cancer,
      and, in addition, anti-inflammatory drug use did not reduce ovarian cancer risk estimates
      in several studies. These statements are misleading and inaccurate. (Expert Reports of
      Drs. Clarke-Pearson, Wolf, and Smith citing the peer-reviewed literature on risk factors
      associated with ovarian cancer)




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 Appendix 3: Relevant cosmetic laws and regulations (prior to the Modernization of
 Cosmetics Regulation Act of 2022)


  Law         Title           Text                                                 Enactment
  21 U.S.C. § Definitions;    (i) The term “cosmetic” means (1) articles           Act June 25,
  321(i)      generally       intended to be rubbed, poured, sprinkled, or         1938, ch
                              sprayed on, introduced into, or otherwise            675, Ch. II, §
                              applied to the human body or any part thereof        201, 52 Stat.
                              for cleansing, beautifying, promoting                1040; July
                              attractiveness, or altering the appearance, and      22, 1954, ch.
                              (2) articles intended for use as a component of      559, § 1, 68
                              any such articles; except that such term shall not   Stat. 511;
                              include soap.                                        Sept. 6,
                                                                                   1958, P. L.
                                                                                   85-929, § 2,
                                                                                   72 Stat.
                                                                                   1784; July
                                                                                   12, 1960, P.
                                                                                   L. 86-618,
                                                                                   Title I, §
                                                                                   101, 74 Stat.
                                                                                   397; Oct. 10,
                                                                                   1962, P. L.
                                                                                   87-781, Title
                                                                                   I, Part A, §
                                                                                   102(a), Title
                                                                                   III, § 307(a),
                                                                                   76 Stat. 781,
                                                                                   796; July 15,
                                                                                   1965, P. L.
                                                                                   89-74, §§
                                                                                   3(a), 9(b), 79
                                                                                   Stat. 227,
                                                                                   234; July 13,
                                                                                   1968, P. L.
                                                                                   90-399, §
                                                                                   102, 82 Stat.
                                                                                   351; Oct. 24,
                                                                                   1968, P. L.
                                                                                   90-639, §§ 1,
                                                                                   4(a), 82 Stat.
                                                                                   1361, 1362;
                                                                                   Oct. 27,
                                                                                   1970, P. L.
                                                                                   91-513, Title



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                                                                  II, Part G, §
                                                                  701(a), (g),
                                                                  84 Stat.
                                                                  1281, 1282;
                                                                  Oct. 21,
                                                                  1972, P. L.
                                                                  92-516, §
                                                                  3(3), 86 Stat.
                                                                  998; April
                                                                  22, 1976, P.
                                                                  L. 94-278,
                                                                  Title V, §
                                                                  502(a)(2)(A),
                                                                  90 Stat. 411;
                                                                  May 28,
                                                                  1976, P. L.
                                                                  94-295, §
                                                                  3(a)(1)(A),
                                                                  (2), 90 Stat.
                                                                  575; Nov.
                                                                  23, 1977, P.
                                                                  L. 95-203, §
                                                                  4(b)(3), 91
                                                                  Stat. 1453;
                                                                  Sept. 26,
                                                                  1980, P. L.
                                                                  96-359, § 3,
                                                                  94 Stat.
                                                                  1193; Nov.
                                                                  16, 1988, P.
                                                                  L. 100-670,
                                                                  Title I, §
                                                                  107(a)(1),
                                                                  102 Stat.
                                                                  3984; Nov.
                                                                  8, 1990, P.
                                                                  L. 101-535,
                                                                  § 5(b), 104
                                                                  Stat. 2362;
                                                                  Nov. 28,
                                                                  1990, P. L.
                                                                  101-629, §
                                                                  16(b), 104
                                                                  Stat. 4526;
                                                                  May 13,
                                                                  1992, P. L.



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                                                                  102-282, § 6,
                                                                  106 Stat.
                                                                  161; June 16,
                                                                  1992, P. L.
                                                                  102-300, §
                                                                  6(a), (b), 106
                                                                  Stat. 240;
                                                                  Oct. 29,
                                                                  1992, P. L.
                                                                  102-571,
                                                                  Title I, §
                                                                  107(1), 106
                                                                  Stat. 4499;
                                                                  Aug. 13,
                                                                  1993, P. L.
                                                                  103-80, §§
                                                                  3(b), (dd)(1),
                                                                  4(b), 107
                                                                  Stat. 775,
                                                                  779; Oct. 25,
                                                                  1994, P. L.
                                                                  103-417, §§
                                                                  3(a), (b),
                                                                  10(a), 108
                                                                  Stat. 4327,
                                                                  4332; Aug.
                                                                  3, 1996, P.
                                                                  L. 104-170,
                                                                  Title IV, §
                                                                  402, 110
                                                                  Stat. 1513;
                                                                  Nov. 21,
                                                                  1997, P. L.
                                                                  105-115,
                                                                  Title I,
                                                                  Subtitle B,
                                                                  §§ 121(a),
                                                                  125(b)(2),
                                                                  (e) 111 Stat.
                                                                  2320, 2325,
                                                                  2327; Oct.
                                                                  30, 1998, P.
                                                                  L. 105-324,
                                                                  § 2(a), (c),
                                                                  112 Stat.
                                                                  3035, 3037;



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                                                                            Jan. 4, 2002,
                                                                            P. L. 107-
                                                                            109, §
                                                                            5(b)(1), 115
                                                                            Stat. 1413;
                                                                            Oct. 26,
                                                                            2002, P. L.
                                                                            107-250,
                                                                            Title III, §
                                                                            302(d), 116
                                                                            Stat. 1619;
                                                                            Aug. 2,
                                                                            2004, P. L.
                                                                            108-282,
                                                                            Title I, §§
                                                                            102(b)(1),
                                                                            (5)(A), (B),
                                                                            203(c)(1),
                                                                            118 Stat.
                                                                            892, 902,
                                                                            908; Sept.
                                                                            27, 2007, P.
                                                                            L. 110-85,
                                                                            Title X, §
                                                                            1005(c), 121
                                                                            Stat. 968;
                                                                            June 22,
                                                                            2009, P. L.
                                                                            111-31, Div
                                                                            A, Title I, §
                                                                            101(a), 123
                                                                            Stat. 1783;
                                                                            Dec. 13,
                                                                            2016, P. L.
                                                                            114-255, Div
                                                                            A, Subtitle F,
                                                                            § 3060(d),
                                                                            130 Stat.
                                                                            1133; Jan. 5,
                                                                            2021, P.L.
                                                                            116-304, §
                                                                            2(b), 134
                                                                            Stat. 4916.
  21 U.S.C. § Adulterated   A cosmetic shall be deemed to be adulterated—   Act June 25,
  361         cosmetics     (a) If it bears or contains any poisonous or    1938, ch
                            deleterious substance which may render it       675, Ch. VI,



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                           injurious to users under the conditions of use          § 601, 52
                           prescribed in the labeling thereof, or under such       Stat. 1054;
                           conditions of use as are customary or usual,            July 12,
                           except that this provision shall not apply to coal-     1960, P. L.
                           tar hair dye, the label of which bears the              86-618, Title
                           following legend conspicuously displayed                I, §
                           thereon: “Caution—This product contains                 102(c)(1), 74
                           ingredients which may cause skin irritation on          Stat. 398;
                           certain individuals and a preliminary test              Oct. 29,
                           according to accompanying directions should             1992, P. L.
                           first be made. This product must not be used for        102-571,
                           dyeing the eyelashes or eyebrows; to do so may          Title I, §
                           cause blindness.”, and the labeling of which            107(11), 106
                           bears adequate directions for such preliminary          Stat. 4499;
                           testing. For the purposes of this paragraph and         Aug. 13,
                           paragraph (e) the term “hair dye” shall not             1993, P. L.
                           include eyelash dyes or eyebrow dyes.                   103-80, §
                           (b) If it consists in whole or in part of any filthy,   3(x), 107
                           putrid, or decomposed substance.                        Stat. 778.
                           (c) If it has been prepared, packed, or held under
                           insanitary conditions whereby it may have
                           become contaminated with filth, or whereby it
                           may have been rendered injurious to health.
                           (d) If its container is composed in whole or in
                           part, of any poisonous or deleterious substance
                           which may render the contents injurious to
                           health.
                           (e) If it is not a hair dye and it is, or it bears or
                           contains, a color additive which is unsafe within
                           the meaning of section 721(a) [21 USCS §
                           379e(a)].
  21 U.S.C. § Misbranded   A cosmetic shall be deemed to be misbranded—            Act June 25,
  362         cosmetics    (a) If its labeling is false or misleading in any       1938, ch
                           particular.                                             675, Ch. VI,
                           (b) If in package form unless it bears a label          § 602, 52
                           containing (1) the name and place of business of        Stat. 1054;
                           the manufacturer, packer, or distributor; and (2)       July 12,
                           an accurate statement of the quantity of the            1960, P. L.
                           contents in terms of weight, measure, or                86-618, Title
                           numerical count: Provided, That under clause            I, §
                           (2) of this paragraph reasonable variations shall       102(c)(2), 74
                           be permitted, and exemptions as to small                Stat. 398;
                           packages shall be established, by regulations           Dec. 30,
                           prescribed by the Secretary.                            1970, P. L.
                           (c) If any word, statement, or other information        91-601, § 6
                           required by or under authority of this Act to           [7](f), 84



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                            appear on the label or labeling is not                Stat. 1673;
                            prominently placed thereon with such                  Aug. 13,
                            conspicuousness (as compared with other               1981, P. L.
                            words, statements, designs, or devices, in the        97-35, Title
                            labeling) and in such terms as to render it likely    XII, Subtitle
                            to be read and understood by the ordinary             A, § 1205(c),
                            individual under customary conditions of              95 Stat. 716;
                            purchase and use.                                     Oct. 29,
                            (d) If its container is so made, formed, or filled    1992, P. L.
                            as to be misleading.                                  102-571,
                            (e) If it is a color additive, unless its packaging   Title I, §
                            and labeling are in conformity with such              107(12), 106
                            packaging and labeling requirements, applicable       Stat. 4499.
                            to such color additive, as may be contained in
                            regulations issued under section 721 [21 USCS
                            § 379e]. This paragraph shall not apply to
                            packages of color additives which, with respect
                            to their use for cosmetics, are marketed and
                            intended for use only in or on hair dyes (as
                            defined in the last sentence of section 601(a) [21
                            USCS § 361(a)]).
                            (f) If its packaging or labeling is in violation of
                            an applicable regulation issued pursuant to
                            section 3 or 4 of the Poison Prevention
                            Packaging Act of 1970 [15 USCS § 1472 or
                            1473].
  21 C.F.R. § Definitions   (b) The term cosmetic product means a finished        [39 FR
  700.3                     cosmetic the manufacture of which has been            10054,
                            completed. Any cosmetic product which is also         March 15,
                            a drug or device or component thereof is also         1974, as
                            subject to the requirements of Chapter V of the       amended at
                            act.                                                  46 FR
                                                                                  38073, July
                                                                                  24, 1981]
  21 C.F.R. §       “       (d) The term fragrance means any natural or                 “
  700.3                     synthetic substance or substances used solely to
                            impart an odor to a cosmetic product.
  21 C.F.R. §       “       (e) The term ingredient means any single                    “
  700.3                     chemical entity or mixture used as a component
                            in the manufacture of a cosmetic product.
  21 C.F.R. §       “       (f) The term proprietary ingredient means any               “
  700.3                     cosmetic product ingredient whose name,
                            composition, or manufacturing process is
                            protected from competition by secrecy, patent,
                            or copyright.
  21 C.F.R. §       “       (h) The term cosmetic raw material means any                “


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  700.3                        ingredient, including an ingredient that is a
                               mixture, which is used in the manufacture of a
                               cosmetic product for commercial distribution
                               and is supplied to a cosmetic product
                               manufacturer, packer, or distributor by a
                               cosmetic raw material manufacturer or supplier.
  21 C.F.R. §        “         (j) Establishment means a place of business              “
  700.3                        where cosmetic products are manufactured or
                               packaged.
  21 C.F.R. §        “         (k) The term manufacture of a cosmetic product           “
  700.3                        means the making of any cosmetic product by
                               chemical, physical, biological, or other
                               procedures, including manipulation, sampling,
                               testing, or control procedures applied to the
                               product.
  21 C.F.R. §        “         (l) The term packaging of a cosmetic product             “
  700.3                        means filling or labeling the product container,
                               including changing the immediate container or
                               label (but excluding changing other labeling) at
                               any point in the distribution of the cosmetic
                               product from the original place of manufacture
                               to the person who makes final delivery or sale to
                               the ultimate consumer.
  21 C.F.R. § Misbranding      (a) Among representations in labeling of a          [39 FR
  701.1                        cosmetic which render such cosmetic                 10056,
                               misbranded is a false or misleading                 March 15,
                               representation with respect to another cosmetic     1974]
                               or a food, drug, or device.
                               (b) The labeling of a cosmetic which contains
                               two or more ingredients may be misleading by
                               reason (among other reasons) of the designation
                               of such cosmetic in such labeling by a name
                               which includes or suggests the name of one or
                               more but not all such ingredients, even though
                               the names of all such ingredients are stated
                               elsewhere in the labeling.

  21 C.F.R. § Designation      (a) The label on each package of a cosmetic
  701.3(a)    of Ingredients   shall bear a declaration of the name of each
                               ingredient in descending order of predominance,
                               except that fragrance or flavor may be listed as
                               fragrance or flavor. An ingredient which is both
                               fragrance and flavor shall be designated by each
                               of the functions it performs unless such
                               ingredient is identified by name. No ingredient
                               may be designated as fragrance or flavor unless


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                            it is within the meaning of such term as
                            commonly understood by consumers. . . . .
  21 C.F.R. § Establishment (a) The label of a cosmetic product shall bear a      [40 FR 8917,
  740.1(a)    of warning    warning statement whenever necessary or               March 3,
              statements    appropriate to prevent a health hazard that may       1975, as
                            be associated with the product.                       amended at
                                                                                  42 FR
                                                                                  15676,
                                                                                  March 22,
                                                                                  1977]
  21 C.F.R. §        “         (b) The Commissioner of Food and Drugs,                  “
  740.1 (b)                    either on his own initiative or on behalf of any
                               interested person who has submitted a petition,
                               may publish a proposal to establish or amend,
                               under subpart B of this part, a regulation
                               prescribing a warning for a cosmetic. Any such
                               petition shall include an adequate factual basis
                               to support the petition, shall be in the form set
                               forth in part 10 of this chapter, and will be
                               published for comment if it contains reasonable
                               grounds for the proposed regulation.
  21 C.F.R. § Labeling of      (a) Each ingredient used in a cosmetic product    [40 FR 8917,
  740.10 (a) cosmetic          and each finished cosmetic product shall be       March 3,
              products for     adequately substantiated for safety prior to      1975]
              which            marketing. Any such ingredient or product
              adequate         whose safety is not adequately substantiated
              substantiation   prior to marketing is misbranded unless it
              of safety has    contains the following conspicuous statement on
              not been         the principal display panel:
              obtained
                               Warning — The safety of this product has not
                               been determined.
  21 C.F.R. §        “         (b) An ingredient or product having a history of        “
  740.10 (b)                   use in or as a cosmetic may at any time have its
                               safety brought into question by new information
                               that in itself is not conclusive. The warning
                               required by paragraph (a) of this section is not
                               required for such an ingredient or product if:
                               (1) The safety of the ingredient or product had
                               been adequately substantiated prior to
                               development of the new information;
                               (2) The new information does not demonstrate a
                               hazard to human health; and
                               (3) Adequate studies are being conducted to
                               determine expeditiously the safety of the
                               ingredient or product.


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                             (c) Paragraph (b) of this section does not
                             constitute an exemption to the adulteration
                             provisions of the Act or to any other
                             requirement in the Act or this chapter.
  21 C.F.R. § Initiation of  An administrative proceeding may be initiated          [44 FR
  10.25       administrative in the following three ways:                           22323, Apr.
              proceedings    (a) An interested person may petition the              13, 1979, as
                             Commissioner to issue, amend, or revoke a              amended at
                             regulation or order, or to take or refrain from        54 FR 9034,
                             taking any other form of administrative action.        Mar. 3,
                             A petition must be either: . . . (2) in the form for   1989]
                             a citizen petition in § 10.30.
                             (b) The Commissioner may initiate a proceeding
                             to issue, amend, or revoke a regulation or order
                             or take or refrain from taking any other form of
                             administrative action. . . . .
                             (c) The Commissioner will institute a
                             proceeding to determine whether to issue,
                             amend, or revoke a regulation or order, or take
                             or refrain from taking any other form of
                             administrative action whenever any court, on its
                             own initiative, holds in abeyance or refers any
                             matter to the agency for an administrative
                             determination and the Commissioner concludes
                             that an administrative determination is feasible
                             within agency priorities and resources.
  21 C.F.R. § Citizen        (a) This section applies to any petition               [44 FR
  10.30       petition       submitted by a person (including a person who          22323, Apr.
                             is not a citizen of the United States) except to       13, 1979, as
                             the extent that other sections of this chapter         amended at
                             apply different requirements to a particular           46 FR 8455,
                             matter.                                                Jan. 27,
                             ...                                                    1981; 50
                             (1) The Commissioner shall, in accordance with         16656, Apr.
                             paragraph (e)(2), rule upon each petition filed        26, 1985; 54
                             under paragraph (c) of this section, taking into       FR 9034,
                             consideration (i) available agency resources for       Mar. 3,
                             the category of subject matter, (ii) the priority      1989; 57 FR
                             assigned to the petition considering both the          17980, Apr.
                             category of subject matter involved and the            28, 1992; 59
                             overall work of the agency, and (iii) time             FR 14364,
                             requirements established by statute.                   Mar. 28,
                             (2) Except as provided in paragraphs (e)(4) and        1994; 62 FR
                             (5) of this section, the Commissioner shall            40570,
                             furnish a response to each petitioner within 180       40592, July
                                                                                    29, 1997; 66


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                        days of receipt of the petition. The response will   FR 6465,
                        either:                                              6467, Jan.
                        (i) Approve the petition, in which case the          22, 2001; 66
                        Commissioner shall concurrently take                 FR 12848,
                        appropriate action (e.g., publication of a           Mar. 1,
                        FEDERAL REGISTER notice) implementing                2001; 78 FR
                        the approval;                                        76748,
                        (ii) Deny the petition;                              76749, Dec.
                        (iii) Dismiss the petition if at any time the        19, 2013; 81
                        Commissioner determines that changes in law,         FR 78500,
                        facts, or circumstances since the date on which      78505, Nov.
                        the petition was submitted have rendered the         8, 2016]
                        petition moot; or
                        (iv) Provide a tentative response, indicating why
                        the agency has been unable to reach a decision
                        on the petition, e.g., because of the existence of
                        other agency priorities, or a need for additional
                        information. The tentative response may also
                        indicate the likely ultimate agency response, and
                        may specify when a final response may be
                        furnished.
                        ...




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                      Exhibit A
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 WILLIAM M. SAGE, MD, JD                                                                            Page 1

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 Employment

 Texas A&M University (2022-)              Professor of Law; Professor of Medicine (Department of
                                           Translational Medical Science); Professor (by courtesy) of
                                           Government and Public Service; Assistant Vice President,
                                           Health Science Center; founding director, institute for health
                                           care access (under development)

 The University of Texas at Austin         James R. Dougherty Chair, School of Law and
 Austin, TX (2006-2022)                    Professor of Surgery and Perioperative Care, Dell Medical
                                           School; Vice Provost for Health Affairs (2006-2013)

 Columbia University                       Professor of Law (2001-2006);
 New York, NY (1995-2006)                  Associate Professor of Law (1995-2001)

 The White House                           Cluster Leader, Health Care Working Group
 Washington, DC (1993)                     (President's Task Force on Health Care Reform)

 O'Melveny & Myers                         Associate, Corporations Department
 Los Angeles, CA (1990-93; 1993-95)        (public finance, securities, mergers and acquisitions)

 The Johns Hopkins Hospital                Resident in Anesthesiology and
 Baltimore, MD (1989-90)                   Critical Care Medicine

 Mercy Hospital and Medical Center         Intern (Transitional)
 San Diego, CA (1988-89)

 Davis Polk & Wardwell                     Summer Associate
 New York, NY (1987)

 Academic Degrees
 Harvard College                            AB magna cum laude in biochemical sciences
 (1978-82)                                  (Phi Beta Kappa; John Harvard Scholar)

 Stanford University                        MD with research honors in anesthesia and
 (1982-88)                                  critical care medicine (Alumni Scholar)
                                            JD with distinction (Order of the Coif;
                                            note editor, Stanford Law Review)

 Université Paris Descartes                 Docteur honoris causa
 (2011)
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 WILLIAM M. SAGE, MD, JD                                                                               Page 2


 Licensure
 Medicine:       California (1989, inactive); New York (1996, inactive); Texas (2008)
 Law:            California (1990, inactive); District of Columbia (1991, inactive)

 Professional Honors
 Elected Member, National Academy of Medicine
 Elected Member, American Law Institute
 Elected Fellow, The Hastings Center on bioethics
 Elected Fellow, New York Academy of Medicine
 Elected Member, The Academy of Medicine, Engineering and Science of Texas
 Permanent Member, Hagler Institute for Advanced Study, Texas A&M University
 Honorary Member, Delta Omega National Public Health Honor Society (Alpha Tau Chapter)
 Honorary Fellow, American College of Legal Medicine

 Teaching and Service
 Current/Recent Courses
 Health Law and Policy (interdisciplinary with law, medicine, public affairs, and business)
 Legislation, Regulation, and Public Policy (core “leg-reg” class)
 Professional Ethics: Comparing Law and Medicine (core legal ethics class)
 Health Justice and the Medical-Legal Partnership (interdisciplinary with law, medicine, and social work)
 Advanced Health Law: Competition, Regulation, and Professionalism
 Developing Outstanding Clinical Skills (DOCS) (Dell Medical School)
 Foundations for Leadership Practice (Dell Medical School)
 Applying Leadership Skills (Dell Medical School)

 Past Teaching:
 Problems in Health Policy and How to Solve Them (UT Plan II Liberal Arts honors program)
 Advanced Health Policy (UT interdisciplinary with law, nursing, pharmacy, and social work)
 Health Policy (Emory University interdisciplinary)
 Health Law (Columbia Law School, Harvard Law School, Yale Law School, Duke Law School)
 Antitrust (Columbia Law School)
 Professional Responsibility (Emory Law School, Harvard Law School, Duke Law School)
 Foundations of the Regulatory State (Columbia University School of Law)
 Professions and Professionals (UT Law and Medicine, Columbia University School of Law and College of
 Physicians & Surgeons; Yale Law School and Yale School of Medicine)

 Visiting Professorships and Other Teaching Positions
 George Washington University School of Law (Fall 2021)
 New York University School of Law (2019-2020)
 and Dept. of Population Health, School of Medicine (2019-)
 Emory Law School (Spring 2018)
 Yale Law School (Spring 2013)
 Harvard Law School (Fall 2007)
 University of Texas School of Law (2005-2006)
 Duke University School of Law (Spring 2001)
 Université Paris Descartes (professeur invite, faculté de droit, 2013-2017)
 University of Minnesota Law School/School of Public Health (visiting scholar, Fall 2003)
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 WILLIAM M. SAGE, MD, JD                                                                          Page 3

 Tokyo University Law Faculty (Columbia Law School exchange program, October 1997)
 Leyden-Amsterdam-Columbia Summer Program in American Law (July 1997)
 USC School of Medicine (adjunct faculty, 1991-95)
 UCLA School of Medicine (adjunct faculty, 1991-92)

 University Service
 Innovation and Leadership Curriculum Committee, Dell Medical School (2015-18)
 Task Force on Student Life (UT Law School) (chair 2014-16)
 Commencement speaker, University of Texas at Austin School of Nursing (December 2011)
 Commencement speaker, University of Texas College of Pharmacy (May 2011)
 Robert W. Hamilton Book Awards (committee 2012; chair 2014) (UT Austin)
 Transformation in Medical Education (TIME) Steering Committee (UT System)
 Institute for Cancer Care Excellence special advisory group (MD Anderson Cancer Center)
 Committee on Sustainability (UT Austin)
 Subcommittee on Patient Safety Disclosure (UT System)
 IRB Task Force (UT System)
 Dean search committees (schools of nursing, pharmacy, social work) (UT Austin)

 Advisory Boards and Community Service
 Editorial Board, Health Affairs (1998-)
 Member, Healthcare System and Value Research (HSVR) study section, Agency for Healthcare Research and
 Quality (AHRQ) (2021-)
 Advisor, American Law Institute, Restatement (Third) on Torts: Medical Malpractice (2020-)
 National Advisory Council, National Center on Medical-Legal Partnership (2019-)
 Board on Health Care Services, National Academies of Science, Engineering, and Medicine (2017-23)
 Children’s Optimal Health (nonprofit GIS mapping) (chair, 2015-19; vice chair, 2008-15)
 ChangeLab Solutions (Public Health Law & Policy) Board of Directors (2009-17)
 Code Red Task Force on the Uninsured in Texas (2007-15)
 Conseil scientifique, Institut Droit et Sante, Universite de Paris V (2007-16)
 Partners in Austin Transforming Health (PATH) (steering committee, 2015-2022)
 Policy Committee, Collaborative on Accountability and Improvement (co-chair, 2016-19)
 Program Committee, Health Professions Interest Group, National Academy of Medicine (2016-20)
 Fellows Council, The Hastings Center (2007-12)
 Nat’l Advisory Committee, RWJF National Policy and Legal Advisory Network (2008-17)
 Editorial Board, Agency for Healthcare Research and Quality WebM&M/PSNet (2009-14)
 Steering Committee, Clinical Education Center at University Medical Center/Brackenridge (2007-10)

 Special Advisory Service
 Peer Reviewer, National Academies of Science, Engineering, and Medicine Report on Decadal Survey of
 Behavioral and Social Science Research on Alzheimer's Disease and Related Dementias (2021)
 Observer, Uniform Law Commission Drafting Committee on Updating the Uniform Determination of Death
 Act (2021-)
 Observer, Uniform Law Commission Study Committee on Updating the Uniform Determination of Death Act
 (2020-21)
 Peer Reviewer, American Law Institute, Restatement of the Law Third, Torts: Concluding Provisions (2020)
 Member, National Academy of Medicine, Committee on the Future of Nursing 2020-2030 (2019-21)
 Monitor, National Academies of Science, Engineering, and Medicine Report on Regulating Medicines in a
 Globalized World (2019)
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 Peer Reviewer, National Academies of Science, Engineering, and Medicine Report on Systems Approaches to
 Improve Patient Care by Supporting Clinician Well-Being (2019)
 Peer Reviewer, National Academies of Science, Engineering, and Medicine Report on Making Medicine
 Affordable: A National Imperative (2017)
 Consultant, Competition Commission of South Africa, Private Health Care Sector Market Inquiry (2015-17)
 Peer reviewer, Harvard University Report on Protecting and Promoting the Health of NFL Players: Legal
 and Ethical Analysis and Recommendations (2015)
 Peer reviewer, IOM Report on The Future of Nursing: Five Years Later (2015)
 AHRQ Special Review Panel for R21 Grants on Patient Safety and Medical Liability (2010)
 AHRQ Advisory Council Subcommittee on Patient Safety and Medical Liability (2009-2010)
 Texas Health Services Authority, HIE Governance and Finance Workgroup (2010)
 JCAHO Tort Resolution and Injury Prevention Roundtable (2004-2005)
 Institute of Medicine, Committee on Rapid Advance Demonstration Projects (2002)
 The Hastings Center, Working Group on Conflicts of Interest in Research (2002-2003)
 The Hastings Center, Working Group on Ethical Issues in Patient Safety (2001-2002)
 New York State Dept. of Health Workgroup on IRB Guidelines (1997-1998)

 Grants
 “A Right to Be Counted: Enhancing Syndromic Surveillance Capabilities for Vulnerable Gulf Communities”
 (Principal investigator: National Academies Gulf Research Program/Robert Wood Johnson Foundation NAS
 Grant Number: SCON-10000856, 2023-2025; $1.5 million)

 “Health Reform, Competition Policy, and Emerging Health Care Markets” (Principal investigator:
 Commonwealth Fund, 2013)

 “The Texas Disclosure and Compensation Study: Best Practices for Improving Safety” (Co-investigator:
 Agency for Healthcare Research and Quality, 2010-2014; $1.3 million)

 “Medicare-Led Malpractice Reform” (Principal investigator: Commonwealth Fund, 2005-2007)

 “A Mediation Skills Approach to Disclosing Medical Error” (Co-investigator: Agency for Healthcare
 Research and Quality conference grant, 2004)

 “Project on Medical Liability in Pennsylvania” (Principal investigator: The Pew Charitable Trusts, 2002-
 2005; $3.5 million)

 “Competing on Quality of Care” (Investigator Award in Health Policy Research: Robert Wood Johnson
 Foundation, 1998-2001)

 Publications
 Books

 Bernard S. Black, David A. Hyman, Myungho Paik, William M. Sage, and Charles Silver. Medical
 Malpractice Litigation: How It Works, Why Tort Reform Hasn’t Helped. Washington, DC: Cato Institute
 2021.

 Oxford Handbook of U.S. Health Law (I. Glenn Cohen, Allison Hoffman, and William M. Sage, eds.). New
 York: Oxford University Press 2016.
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 WILLIAM M. SAGE, MD, JD                                                                            Page 5


 Medical Malpractice and the U.S. Health Care System (William M. Sage and Rogan Kersh, eds.). New York:
 Cambridge University Press 2006.

 Uncertain Times: Kenneth Arrow and the Changing Economics of Health Care (Peter J. Hammer, Deborah
 Haas-Wilson, Mark A. Peterson, and William M. Sage, eds.). Durham, NC: Duke University Press 2003.

 Book Chapters

 Sage WM. Private Law as Health Law: What It Means, Why It Matters, in Health Law as Private Law (I.
 Glenn Cohen, Wendy Netter Epstein, Christopher Robertson, Carmel Shachar eds.). Cambridge University
 Press (forthcoming 2024).

 Sage WM, Tiase VL. Risk, Responsibility, Resilience, Respect: COVID-19 and the Protection of Health Care
 Workers, in COVID-19 and the Law: Disruption, Impact, and Legacy (I. Glenn Cohen, Abbe R. Gluck,
 Katherine L. Kraschel, Carmel Shachar eds.). Oxford University Press (forthcoming).

 Sage WM. Appendix E: The Future of Nursing 2020-2030: Meeting America Where We Are: Supplemental
 Statement of William M. Sage, M.D., J.D., in The Future of Nursing 2020-2030: Charting a Path to Achieve
 Health Equity. (Mary Wakefield, David R. Williams, Suzanne Le Menestrel, and Jennifer L. Flaubert, eds.).
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 Santuari A, Sage W. Paradigms of Healthcare Systems, Law, and Regulation: A Transatlantic Conversation,
 in Oxford Handbook of Comparative Healthcare Law (Tamara Hervey & David Orentlicher, eds.). New
 York: Oxford University Press 2021: [1-51] (DOI:10.1093/oxfordhb/9780190846756.013.47).

 Sage WM, Cohen IG, Hoffman AK. Health Care Law and Ethics, in Health Systems Science (2nd edition;
 Susan Skochelak ed.) Philadelphia: Elsevier Health Sciences, 2020: 220-242.

 Sage WM. Explaining America’s Spendthrift Health Care System: The Enduring Effects of Public
 Regulation on Private Competition, in The Law and Policy of Healthcare Financing (Wolf Sauter, Jos
 Boertjens, Johan van Manen, and Misja Mikkers, eds.) Cheltenham, UK: Edward Elgar Publishing, 2019: 17-
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 Etchegaray JM, Gallagher TH, Bell SK, Sage WM, Thomas EJ. Error Disclosure Training and
 Organizational Culture, in Advances in Patient Safety and Medical Liability. (James Battles J, Irim Azam,
 Mary Grady, and Kathryn Reback, eds.). Rockville, MD: Agency for Healthcare Research and Quality 2017
 (AHRQ Pub. No. 17-0017, Aug. 2017): 65-78.

 Sage WM, Ottosen MJ, Coopwood TB. A Quiet Revolution: Communicating and Resolving Patient Harm, in
 Surgical Patient Care: Improving Safety, Quality, and Value (Juan A. Sanchez, Paul Barach, Julie K.
 Johnson, and Jeffrey P. Jacobs, eds.). New York: Springer Science+Business Media 2017: 649-664.

 Sage WM. Antitrust Law and Competition Policy in U.S. Health Care, in Oxford Handbook of U.S. Health
 Law (I. Glenn Cohen, Allison Hoffman, and William M. Sage, eds.). New York: Oxford University Press
 2016: 606-636.
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 2016: 3-28.

 Sage WM. Some Principles Require Principals: Why Banning “Conflicts of Interest” Won’t Solve Incentive
 Problems in Biomedical Research, in Trust and Integrity in Biomedical Research: The Case of Financial
 Conflicts of Interest (Thomas H. Murray and Josephine Johnston, eds.). Baltimore, MD: The Johns Hopkins
 University Press 2010: 188-213.

 Sage WM and Leibenluft RF. Overcoming Barriers to Collaboration and Alignment: Legal and Regulatory
 Issues, in Physician-Hospital Integration (Francis J. Crosson and Laura Tollen, eds.). New York: Jossey-
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 Sage WM. Solidarity, in Connecting American Values with American Health Care Reform (Thomas H.
 Murray and Mary Crowley, eds.). Garrison, NY: The Hastings Center 2009: 10-12.

 Sage WM. Paying Research Subjects: The U.S. Example, in Essais cliniques, quels risques? (Anne Laude
 and Didier Tabuteau, eds.). Paris: Presses Universitaires de France 2007: 137-152.

 Sage WM and Kinney ED. Medicare-Led Malpractice Reform, in Medical Malpractice and the U.S. Health
 Care System (William M. Sage and Rogan Kersh, eds.). New York: Cambridge University Press 2006: 318-
 349.

 Sage WM. Malpractice Reform as a Health Policy Problem, in Medical Malpractice and the U.S. Health
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 42.

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 M. Sage and Rogan Kersh, eds.). New York: Cambridge University Press 2006: 1-8.

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 (Richard Anderson, ed.). Totowa, New Jersey: Humana Press 2005: 247-278.

 Sage WM. Reputation, Malpractice Liability, and Medical Error, in Accountability: Patient Safety and Policy
 Reform (Virginia A. Sharpe, ed.). Washington, DC: Georgetown University Press 2004: 159-183.

 Sage WM. Panel Presentation on Education in Professional Values and Rules, in Record of Proceedings,
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 State Judicial Institute on Professionalism in the Law 2003; 3(1): 38-44.

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 (Alice G. Gosfield, ed.). St. Paul, Minnesota: West Group: 2003; 1-32.

 Institute of Medicine. Fostering Rapid Advances in Health Care: Learning from System Demonstrations
 (Janet M. Corrigan, Ann Greiner, and Shari M. Erickson, eds.). Washington, DC: National Academies Press:
 2002 (committee member and chapter author).
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 WILLIAM M. SAGE, MD, JD                                                                           Page 7

 Hammer PJ and Sage WM. Health Care Quality and Antitrust Law: Lessons from the Cases, in 2002 Health
 Law Handbook (Alice G. Gosfield, ed.). St. Paul, Minnesota: West Group: 2002; 549-608.

 Warren SH and Sage WM. Feasting in a Flak Jacket: Bankruptcy Risks and Opportunities for Solvent Health
 Care Organizations, in 1998 Health Law Handbook (Alice G. Gosfield, ed.). Deerfield, Illinois: Clark
 Boardman Callaghan; 1998; 443-468.

 Sage WM and Aiken LH. Regulating Interdisciplinary Practice, in Regulation of the Healthcare Professions
 (Timothy S. Jost, ed.). Chicago: Health Administration Press; 1997; 71-101.

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 Chicago: American Bar Association; 1997; 99-121.

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 Gosfield, ed.). Deerfield, Illinois: Clark Boardman Callaghan; 1997; 185-205.

 Sage WM and Scott CD. Community Health Information Networks, in 1996 Health Law Handbook (Alice G.
 Gosfield, ed.). Deerfield, Illinois: Clark Boardman Callaghan; 1996; 403-436.

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 Washington, D.C.: Agency For Health Care Policy and Research/National Institute For Health Care
 Management; 1995: 63-73.

 Warren SH and Sage WM. With Friends Like These...: Protecting Participants in Integrated Systems from
 Bankruptcy and Insolvency Risks, in 1995 Health Law Handbook (Alice G. Gosfield, ed.). Deerfield,
 Illinois: Clark Boardman Callaghan; 1995; 115-151.

 Articles (*Refereed/peer reviewed publications)

 *Sage WM, Warren KD. Swimming Upstream Together: How to Align MLP Services with U.S. Healthcare
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 Cortez N, Sage WM. The Disembodied First Amendment. Washington University Law Review 2022; 100(3):
 707-764 (published in 2023).

 *Sage WM, Yang YT. Reducing “COVID Misinformation” While Preserving Free Speech. JAMA 2022
 (published online Mar. 31, 2022; https://jamanetwork.com/journals/jama/fullarticle/2790859).

 Sage WM. What the Pandemic Taught Us: The Health Care System We Have Is Not the System We Hoped
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 *Sage WM. Adding Principle to Pragmatism: The Transformative Potential of “Medicare-for-All.” Yale
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 *Sage WM, Westmoreland TM. Following the Money: The ACA’s Fiscal-Political Economy and Lessons for
 Future Health Care Reform, Journal of Law, Medicine & Ethics 2020; 48(3): 434-442 (symposium on the
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 WILLIAM M. SAGE, MD, JD                                                                                Page 8

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 Sage WM, Boothman RC, Gallagher TH. Another Medical Malpractice Crisis? Try Something Different.
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 Key Questions. Joint Commission Journal on Quality and Patient Safety (published Aug. 26, 2020, available
 at https://www.jointcommissionjournal.com/article/S1553-7250(20)30183-5/fulltext)

 Sage WM, Underhill K. Malpractice Liability and Quality of Care: Clear Answer, Remaining Questions.
 JAMA 2020; 323(4): 315-317 (invited editorial).

 *Masoudi FA, Viragh T, Magid DJ, Moghtaderi A, Schilsky S, Sage WM, Goodrich G, Newton KM, Smith
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 based Outpatient and Hospital-based Outpatient Settings: Trends and Relationship with Testing Location,
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 abstract/2753121 (Oct. 14, 2019).

 *Kum H-C, Giannouchos T, Washburn D, Sage WM, Ohsfeldt R. Predictors of Multiple Emergency
 Department Utilization Among Frequent Emergency Department Users in Three States. Medical Care 2019:
 https://journals.lww.com/lww-
 medicalcare/Abstract/publishahead/Predictors of Multiple Emergency Department.98378.aspx) (Oct. 23, 2019).

 *Thurman WA, Harrison TC, Garcia AA, Sage WM. The Social Construction of Disability and the
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 *Gallagher TH, Mello MM, Sage WM, Bell SK, McDonald TB, Thomas EJ. Can Communication-and-
 Resolution Programs Achieve Their Potential? Five Key Questions. Health Affairs 2018; 37(11): 1845-1852
 (special issue on patient safety).

 Sage WM and Laurin JE. If You Would Not Criminalize Poverty, Do Not Medicalize It. Journal of Law,
 Medicine, and Ethics 2018; 46(3): 573-581 (symposium on the medicalization of poverty).

 *White AA, Sage WM, Osinska P, Salgaonkar M, Gallagher TH. Patient Safety and the Aging Physician:
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 file:///C:/Users/ws2234/Box%20Sync/Documents/Sage%20.pdfs/Physician%20Ageing%20BMJ%20Quality
 %20and%20Safety%202018.pd https://qualitysafety.bmj.com/content/qhc/early/2018/09/20/bmjqs-2018-
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 *Farmer SA, Moghtaderi A, Schilsky S, Magid D, Sage WM, Allen N, Masoudi FA, Dor A, Black B.
 Association of Medical Liability Reform with Clinician Approach to Coronary Artery Disease Management.
 JAMA Cardiology 2018; 3(7): 609-618.
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 WILLIAM M. SAGE, MD, JD                                                                           Page 9

 Sage WM. Fracking Health Care: The Need to Safely De-Medicalize America and Recover Trapped Value
 for Its People. NYU Journal of Law and Liberty 2017; 11(2): 635-671 (symposium on liberty and US health
 care)

 Sage WM, Hyman DA. Antitrust as Disruptive Innovation in Health Care: Can Limiting State Action
 Immunity Help Save a Trillion Dollars? 48 Loyola University Chicago Law Journal 2017; 48: 723-755
 (ABA antitrust symposium).

 Sage WM. Minding Ps and Qs: The Political and Policy Questions Framing Health Care Spending. Journal
 of Law, Medicine, and Ethics 2016; 44(4): 559-568 (published in 2017) (symposium on health care in a new
 administration).

 *Sage WM, Harding MC, Thomas EJ. Resolving Malpractice Claims After Tort Reform: Experience in a
 Self-Insured Texas Public Academic Health System. Health Services Research 2016; 51(S3): 2615-2633
 (AHRQ special issue on liability and safety).

 *Etchegaray JM, Ottosen MJ, Aigbe A, Sedlock E, Sage WM, Bell SK, Gallagher TH, Thomas EJ. Patients
 as Partners in Learning from Unexpected Events. Health Services Research 2016; 51(S3): 2600-2614
 (AHRQ special issue on liability and safety).

 Sage WM. Assembled Products: The Key to More Effective Competition and Antitrust Oversight in Health
 Care. Cornell Law Review 2016; 101(3): 609-700

 *Sage WM, Jablonski JS, Thomas EJ. Use of Non-Disclosure Agreements in Medical Malpractice
 Settlements by a Large Academic Health Care System. JAMA Internal Medicine 2015; 175(7): 1130-1135.

 *Sage WM, McIlhattan K. Upstream Health Law. Journal of Law, Medicine & Ethics 2014; 42(4): 535-549
 (symposium on buying and selling health care) (published in 2015).

 Sage WM. Medical Malpractice Reform: When Is It About Money? Why Is It About Time? JAMA 2014;
 312(20): 2103-2105 (invited editorial).

 Sage WM. Our “Patchwork” Health Care System: Melodic Variations, Counterpoint, and the Future Role of
 Physicians. Houston Journal of Health Law & Policy 2014; 14(1): 1-9 (invited foreword to symposium on
 health system fragmentation).

 *Sage WM. Getting the Product Right: How Competition Policy Can Improve Health Care Markets. Health
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 *Sage WM, Gallagher TH, Armstrong S, Cohn J, McDonald T, Gale JL, Woodward A, and Mello MM. How
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 *Sage WM, Hyman DA. Let’s Make a Deal: Trading Malpractice Reform for Health Reform. Health Affairs
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 WILLIAM M. SAGE, MD, JD                                                                          Page 10

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 Sage WM. Putting Insurance Reform in the ACA’s Rear-View Mirror. Houston Law Review 2014; 51(4):
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 Internal Medicine 2013; 173(22): 2069-2070 (invited commentary) (available at
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 Golden JM, Sage WM. Are Human Genes Patentable? The Supreme Court Says Yes and No.
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 Rosenbaum S, Sage WM. Maternity Care and Liability. Women’s Health Issues 2013; 23-1: e3–e5
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 Sage WM. Legal and Constitutional Influences on the Implementation of U.S. Health Care Reform. Journal
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 *Sage WM. Both Symptom and Disease: Relating Medical Malpractice to Health Care Costs. Forum for
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 *Sage WM. Will Embryonic Stem Cells Change Health Policy? Journal of Law, Medicine & Ethics 2010;
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 WILLIAM M. SAGE, MD, JD                                                                          Page 11

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 Sage WM. Over Under or Through: Physicians, Law, and Health Care Reform. Saint Louis University Law
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 1-11 (available at http://papers.ssrn.com/sol3/papers.cfm?abstract id=2377485)

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 Evidence from Texas Closed Claims, 1990-2003. Geneva Papers on Risk and Insurance: Issues and Practice
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 law).

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 Verdict Haircuts in Texas Medical Malpractice Cases, 1988-2003. Journal of Empirical Legal Studies 2007;
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 Presentations (2014-present)

 Invited Lectures, Testimony, and Conference Presentations
 “The Future of Human Rights and Justice-Centered Ethics in Epidemic Response” (UCLA-Texas A&M
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 “Leadership, Ethics, and Communication in Health Policy” (TAMU James Knight Leadership Fellows
 Program; Bryan, TX; October 2023)
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 “Improving Health Policy by Reframing Conversations” (UT Southwestern O’Donnell School of Public
 Health; Dallas, TX; September 2023)

 “Unsticking Health Policy” (Texas A&M Community of Scholars Engagement Evening: College Station, TX;
 September 2023)

 “Public Funds, Public Functions, Private Actors: The Cognitive Dissonance of US Health Law” (Harvard
 Law-Petrie Flom Center Annual Conference: Cambridge, MA; June 2023)

 “Accountability and the Health Professions: Lessons for Health Reform from the Vanderbilt Nurse Case”
 (46th Annual Health Law Professors Conference: Baltimore, MD; June 2023)

 “Patient and Public Accountability for Error and Harm: The Vanderbilt Nurse Case Revisited” (UT Annual
 Health Lawyers Conference: Houston, TX; April 2023)

 “Health Policy Lessons from the COVID-19 Pandemic: The System We Have is Not the System We Thought
 We Had” (UT Dallas School of Economic, Political, and Policy Sciences: Dallas, TX; March 2023)

 “Health Equity and the Medical-Legal Partnership” (MITRE Corporation “HealthLab” Series: Bethesda, MD;
 March 2023 (via Zoom))

 “Workflow, Information, and Payment: Aligning Medical-Legal Partnerships with US Healthcare Delivery”
 (Yale Law School conference on the future of medical-legal partnership: New Haven, CT; March 2023)

 “Observations on Accountability and Improvement from the Vanderbilt Nurse Case” (Collaborative on
 Accountability and Improvement Seminar Series: Seattle, WA (via Zoom); October 2022)

 “Mistrust, Misinformation, Race & COVID-19” (Texas State Bar Health Law Conference; Austin, TX;
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 “The Role of the Courts in Health Policy” (2022 North Texas State of Reform Health Policy Conference:
 Irving, TX; September 2022)

 “Consolidation and Competition” (2022 State of Reform Texas Health Policy Conference: Austin, TX; March
 2022)

 “Helping Medicine Rethink Its Foundations: A Civics Lesson” (44th Annual Health Law Professors
 Conference: Boston, MA (via Zoom), June 2021)

 “The Relationship Between Law and Ethics in US Health Care: An Introduction and Provocation” (Black-
 Zandveld Lecture, Texas A&M College of Medicine: College Station, TX (via Zoom), May 2021)

 “Medicare-for-All and Post-Pandemic Health Reform” (Texas A&M University School of Law conference on
 Mostly Non-Pandemic Health Law: Fort Worth, TX (via Zoom), March 2021)

 “Media Medicine: Physicians, Law, and Professional Ethics in COVID-19 Reporting” (George Washington
 University Law School/Milken Institute School of Public Health conference on First Amendment Values in
 Health Care; Washington, DC (via Zoom); March 2021)
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 “Reforming Scope of Practice to Meet Community Needs” (Penn Nursing/LDI conference on Expanding
 Scope of Practice After COVID-19 panel discussion: Philadelphia, PA (via Zoom); November 2020)

 “Comments on Right-Skilling Health Professionals: Replacing Government Licensing with Third-Party
 Certification” (Cato Institute online event; September 2020)

 “COVID-19 and US Hospitals: Operational and Policy Issues” (University of Luxembourg Centre for
 Logistics & Supply Chain Management: Luxembourg (via Zoom); June 2020)

 “COVID-19 and U.S. Health Law: Emergency Change or System Reset?” (Wagner School of Public Service
 WagTalk: New York, NY; April 2020)

 “The Ethical Foundations of Medicare-for-All” (Columbia University School of Medicine Bioethics Grand
 Rounds: New York, NY; January 2020)

 “Panel Discussion: Universal Health Care: Can Expanding Public Health Insurance Address Health
 Disparities?” (NYU Langone Medical Center conference on the politics of health, disparities, and equity:
 New York, NY; October 2019)

 “Expanding Access to Public Programs” (American University conference on Next Steps in Health Reform:
 Washington, DC; October 2019)

 “The Future of Nursing” (ASLME 42nd Annual Health Law Professors Conference: Chicago, IL; June 2019)

 “The Innovative Potential of Medicare-for-All” (American Society of Neuroradiology Annual Meeting:
 Boston, MA; May 2019) (J. Arliss Pollock Memorial Award)

 “Medicare-for-All” (University of Texas Health and Humanities Institute: Austin, TX; April 2019)

 “Escaping Medicare’s Gilded Age: The Innovative Potential of Medicare-for-All. (BioLaw Lapalooza 3.0:
 Stanford, CA; March 2019)

 “Ethical and Legal Obligations to Disclose and the Communication and Resolution Program (CRP)
 Movement” (Federation of State Medical Boards Annual Counsel Meeting: Austin, TX; November 2018)

 “AI, Robotics, and the Practice of Medicine” (Panel Discussion, Yale Law School Conference on the Law &
 Policy of AI, Robotics & Telemedicine in Health Care: New Haven, CT; November 2018)

 “The On-Again Off-Again ACA” (Austin Area Research Organization: Austin, TX; October 2018)

 “The Medicalization of Poverty” (ASLME 41st Annual Health Law Professors Conference: Cleveland, OH;
 June 2018)

 “Keynote Address: Regulation and Competition in the US Heath Care System (Netherlands Health Authority
 Conference on the Law and Policy of Healthcare Financing: Utrecht, NL; June 2018)
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 “Safety and Late Career Practitioners: Lessons from Regulating Physicians in Training” (Accelerating the
 Development of Late Career Practitioner Programs at US Healthcare Institutions, All-Stakeholder Meeting:
 Seattle, WA; May 2018)

 “How Law Constrains Policy in US Health Reform” (Department of Pediatrics Grand Rounds, Dell Medical
 School: Austin, TX; May 2018)

 “Fracking Health Care” (Department of Surgery Grand Rounds, Dell Medical School: Austin, TX; May 2018)

 “How Law Constrains Policy in US Health Reform” (Nell Hodgson Woodson School of Nursing Health
 Policy Series: Atlanta, GA; April 2018)

 “Fracking Health Care” (Alan Ross Hawley Distinguished Visitorship and Lecture Series, University of Iowa
 College of Law: Iowa City, IA; April 2018)

 “Burning Issues in Health Policy: Commentary” (Emory University Healthcare Innovation Symposium
 XXIII: Atlanta, GA; March 2018)

 “De-medicalizing Health Care” (Stanford Law School “Biolawpalooza”: Stanford, CA; March 2018)

 “Keynote Address: Boosting Clinical and Social Value in U.S. Health Reform” (American Society of
 Phlebology Annual Meeting: Austin, TX; November 2017)

 “Fracking Healthcare” (University of Illinois-Carle Clinic Conference on the Medicalization of Poverty:
 Champaign, IL; November 2017)

 “Teaching Leadership Skills to Medical Students: A Progress Report from the Pioneers” (National Academy
 of Medicine Annual Meeting: Washington, D.C.; October 2017)

 “Why We Aren’t There: Health Law Constraints on Health Policy Solutions” (American Enterprise Institute:
 Washington, D.C.; September 2017)

 “Update on Health Care Reform” (Austin Area Research Organization Board Meeting: Austin, TX;
 September 2017)

 “Release and Repurpose: Solving the Social and Economic Problem of Low-Value Medicine” (40th Annual
 Health Law Professors Conference: Atlanta, GA; June 2017)

 “The AHA and the ‘AHCA’” (Dell Medical School Brown Bag Lunch Series: Austin, TX; May 2017)

 “Ethics in the Era of Rapid Innovation and Entrepreneurship in Healthcare” (McCombs School of Business
 Innovation in Healthcare Delivery Systems Symposium 2017: Austin, TX; April 2017)

 “Resolving Malpractice Claims after Tort Reform: Experience in a Self-Insured Texas Public Academic
 Health System” (McCombs School of Business Innovation in Healthcare Delivery Systems Symposium 2017:
 Austin, TX; April 2017)
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 “What Worked and Didn't Work in Obamacare?" (Delta Omega Honor Society Distinguished Lecture Series,
 Texas A&M School of Public Health: College Station, TX; April 2017)

 “The Arc of Health Reform” (Department of Medicine Grand Rounds, UCLA Health: Los Angeles, CA;
 March 2017)

 “Recover and Repurpose: Solving the Social and Economic Problem of Low-Yield Medicine (NYU Classical
 Liberal Institute Conference on Health Innovation: New York, NY; February 2017)

 “Beyond Financing: Keeping “Care” and “Health” in Health Care Reform” (American Bar Association
 Washington Health Law Summit: Washington, DC; December 2016)

 “Healthcare Consolidation: How Regulation Drives Competition” (PhRMA State Medical Society Meeting
 2016: Denver, CO; October 2016)

 “Legal Influences on Health Care Innovation” (Ulahealth conference on Blockchain-based health care
 innovation: Austin, TX; October 2016)

 “Health System Transformation and National Health Reform: Legal Barriers and Generational Opportunities”
 (National Academy of Medicine Health Policy and Health Care Systems Annual Interest Group Meeting:
 Washington, DC; October 2016)

 “Responding to Patient Harm using “Communication-and-resolution” Principles: Challenges and
 Opportunities (American College of Obstetricians and Gynecologists, Texas region annual meeting: The
 Woodlands, TX; September 2016) (ethics keynote)

 “And Not Or: The Conjunctive Challenges of Health Reform” (University of Pennsylvania Symposium and
 Tribute to Richard A. “Buz” Cooper, MD: Philadelphia, PA; September 2016) (afternoon keynote)

 “U.S. Health Policy and the Future of Advanced Practice Nursing” (Penn School of Nursing conference on
 nursing workforce policy: Philadelphia, PA; September 2016)

 “Addressing Hidden Regulatory Barriers to Effective Competition in Health Care” (American Bar
 Association/Loyola University Chicago conference on antitrust and consumer protection in health care:
 Chicago, IL; September 2016)

 “Improving Communication with Patients in Cases of Error or Serious Adverse Events” (conference organizer
 and principal presenter for Universite Paris Descartes/Assistance Publique Hopitaux de Paris Workshop:
 Paris, France; June 2016)

 “The Current Status and Future of ‘Obamacare’” (Sciences Po, Institut Droit et Sante – Inserm public lecture:
 Paris, France; June 2016)

 “Re-Regulating Health Care for the ‘Triple Aim’ Generation of Professionals, Policymakers, and Patients”
 (Federation of State Medical Boards Annual Meeting: San Diego, CA; April 2016)

 “Professional Speech and the First Amendment” (Northeastern University School of Law conference on the
 Future of Public Health: Boston, MA; April 2016)
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 “Legal and Policy Context for Value-Based Care Redesign” (Brown University Department of Orthopedic
 Surgery Grand Rounds: Providence, RI; March 2016)

 “Keynote address: U.S. Health Policy, the ACA, and the Future of Advanced Practice Nursing” (Texas
 Nurses Association APRN Legislative Day: Austin, TX; February 2016)

 “Keynote address: Health Policy and the Changing Role of Clinical Practice Guidelines” (Dell Medical
 School Department of Women’s Health Clinical Guidelines Forum: Austin, TX; February 2016)

 “Health Law at War with Health Policy” (Texas A&M University School of Public Health: College Station,
 TX; January 2016)

 “State Medical Boards: Legal, Institutional, and Generational Changes” (University of Washington School of
 Medicine conference on developing ethically sound regulatory strategies for medical injuries: Seattle, WA;
 December 2015)

 “ACOs, New Health Care Delivery Models, and Physicians: The Promise of Generational Change” (Yale
 Law School and Yale School of Management conference on The New Health Care Industry: New Haven, CT;
 November 2015)

 “Issues in Health Economics and Health Policy” (University of Texas Plan II Honors Pre-Medical Society:
 Austin, TX; October 2015)

 “Beyond Revenue and Compliance: The ACA and Strategic Legal Issues for Texas Teaching Hospitals”
 (Teaching Hospitals of Texas Annual Health Law Seminar: Austin, TX; October 2015)

 “Adding Value to Health Care” (Accordion Health Employer Health Conference 2015: Austin, TX; June
 2015)

 “Why Aren’t We There Already? Centering Health Law on the ACA’s Care Delivery and Population Health
 Goals” (Health Law Professors Conference: St. Louis, MO; June 2015)

 “Competition that Adds Value: Big Picture Challenges in Health Law & Policy” (American Academy of
 Orthopaedic Surgeons course on Shifting from Volume to Value: Preparing your Practice for Health Reform:
 Washington, DC; May 2015)

 “Belaboring Delivery System Reform” (University of Connecticut Insurance Law Center Conference on the
 5th Anniversary of the Affordable Care Act: Hartford, CT; April 2015)

 “Upstream Health Law” (McCombs School of Business Annual Conference on Innovation in Health Care
 Delivery Systems: Austin, TX; April 2015)

 “The Affordable Care Act in 2015: Implications of Political Change” (American Association of Colleges of
 Pharmacy Interim Meeting: Austin, TX; February 2015)

 “Adding Value by Improving Competition in Health Care” (Philosophical Society of Texas 177th Anniversary
 Meeting: Tyler, TX; February 2015)
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 “Beyond FDA: A Diversified Information Policy for ‘Unproven’ Treatments” (Texas Law Review
 Symposium on Science Challenges for Law and Policy: Austin, TX; January 2015)

 “Rethinking the Product: A Path to More Effective Competition in Health Care” (Rice University Baker
 Institute for Public Policy: Houston, TX; December 2014)

 “Health Care in the United States: How Public Regulation Drives $3 Trillion of Private Competition”
 (European University Institute conference on Antitrust Law in Healthcare: Florence, Italy; November 2014)

 “Unpacking the Regulation of Professional Speech (Yale Law School conference on Public Health in the
 Shadow of the First Amendment: New Haven, CT; October 2014)

 “Keynote address: Consolidation and Competition Policy” (Healthcare Financial Management Association
 Thought Leadership Retreat: Washington, DC; October 2014)

 “Communication and Resolution Programs: Policy Goals and Legal Issues” (Washington Medical Quality
 Assurance Commission Annual Educational Conference: Olympia, WA; October 2014)

 “The Effects of Obamacare” (National Latino Law Student annual meeting: Austin, TX; September 2014)

 “Disclosure and Apology: A Win-Win for Patient Safety and Medical Liability” (Alliance for Health Reform
 U.S. Capitol Briefing: Washington, DC; July 2014)

 “Engaging Patients as Partners in Error Disclosure to Improve Patient Care: Legal Issues” (AHRQ-UT Health
 Science Center-Houston: Houston, TX; June 2014)

 “Let the People In: Scope of Practice Reform in Texas” (Texas Public Policy Foundation Issue Briefing:
 Austin, TX; May 2014)

 “Getting the Product Right: How Competition Policy Can Improve Health Care Markets” (Health Affairs
 Briefing, Provider Consolidation in Health Care: Washington, DC; May 2014)

 “Clinical Trials Data Sharing, Litigation, and the First Amendment” (Presentation to the Institute of Medicine
 Committee on Strategies for Responsible Sharing of Clinical Trial Data: Washington, DC; April 2014) (via
 webcam)

 “Improving Health Care Competition by Getting the Product Right” MD Anderson Cancer Center Institute for
 Cancer Care Innovation: Houston, TX; April 2014)

 “Healthy Competition?” (Bipartisan Congressional Health Policy Conference: Houston, TX; March 2014)

 “Obamacare: Do the Benefits Outweigh the Costs?” (Adam Smith Society Debate, McCombs School of
 Business: Austin, TX; January 2014)

 Seminars and Workshops
 “Health Policy Lessons from the COVID-19 Pandemic” (Bush School of Government and Public Service;
 College Station, TX; December 2022)
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 “Comments on ‘Fiscal Waivers’ in Federal Health Programs (Emory Law School Federal Funding Issues
 Workshop: via Zoom; November 2020) (with Keegan Warren-Clem)

 “Race, Health Justice, and COVID-19” (University of Texas Law School workshop series: via Zoom;
 November 2020)

 “Comments on Expressive Law and Medicaid Work Requirements” (Seton Hall Law School Health Law
 Works-in-Progress Retreat: Newark, NJ; February 2020)

 “Medicare-for-All as Principled Health Reform” (Hastings Center Scholars Workshop: Garrison, NY;
 November 2019)

 “Adding Principle to Pragmatism: The Transformative Potential of Medicare-for-All” (NYU School of Law
 Faculty Workshop, New York, NY; November 2019)

 “If You Would Not Criminalize Poverty, Do Not Medicalize It” (NYU Langone School of Medicine,
 Department of Population Health Seminar: New York, NY; March 2019)

 “The Innovative Potential of Medicare-for-All” (NYU School of Law, Engelberg Center Workshop: New
 York, NY; March 2019)

 “If You Would Not Criminalize Poverty, Do Not Medicalize It” (Duke Law School Health Law & Policy
 Workshop: Durham, NC; November 2018)

 “If You Would Not Criminalize Poverty, Do Not Medicalize It” (University of San Diego Law School
 Faculty Workshop: San Diego, CA; October 2018)

 “Fracking Healthcare” (Emory Law School Faculty Workshop: Atlanta, GA; April 2018)

 “Fracking Healthcare” (Rollins School of Public Health, Department of Health Policy & Management Faculty
 Workshop: Atlanta, GA; March 2018)

 “Fracking Healthcare” (UNLV Law & Medicine Workshop: Las Vegas, NV; February 2018)

 “Why We Aren’t There Yet: Recognizing and Reducing Legal Barriers to High Value Care” (Dell Medical
 School Department of Surgery Faculty Meeting: Austin, TX; November 2017)

 “Relating Health Law to Health Policy” (UT Law School Bookfest: Austin, TX; October 2017)

 “Health Law Constraints on Health Policy Solutions” (Texas A&M University Bush School of Government
 seminar series: College Station, TX; October 2017)

 “Fracking Healthcare” (Harvard Law School Petrie-Flom Center Workshop Series: Cambridge, MA;
 September 2017)

 “Medical-Legal Partnerships” (UT Law School Faculty Drawing Board Presentation: Austin, TX; March
 2017)
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 “Recover and Repurpose: Engineering the De-Medicalization of US Social Policy” (UCLA Law School
 faculty workshop: Los Angeles, CA; March 2017)

 “Legal, Professional, and Generational Perspectives on US Health Policy Challenges” (Emory Health System
 clinical leadership meeting: Atlanta, GA; March 2016)

 “Health Law Barriers to Health Policy Solutions” (Weill Cornell Department of Health Policy faculty
 seminar: New York, NY; March 2016)

 “Regulatory Theory and Tobacco Control, or Why Dancers Smoke” (University of Texas School of Public
 Health tobacco research center seminar: Austin, TX; December 2015)

 “Relating Health Law to Health Policy” (University of Arizona interdisciplinary seminar on regulation:
 Tucson, AZ; December 2015)

 “Relating Health Law to Health Policy” (Emory Law School Faculty Workshop: Atlanta, GA; November
 2015)

 “Relating Health Law to Health Policy” (Cornell Law School Faculty Workshop: Ithaca, NY; November
 2015)

 “Health Law and Health Policy: A Frictional Account” (Southern Methodist University Law School Faculty
 Workshop: Dallas, TX; October 2015)

 “Rethinking the Product: A Path to More Effective Competition in Health Care” (Emory Law School Faculty
 Workshop: Atlanta, GA; September 2014)

 “Improving Competition Policy for Health Care Markets” (University of Texas School of Law Faculty
 Workshop: Austin, TX; February 2014)
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                      Exhibit B
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30(b)(6) Deposition and Exhibits of John Hopkins Taken on 8.16.18, 8.17.18, 10.17.18, 11.05.18
30(b)(6) Deposition and Exhibits of Joshua Muscat Taken on 9.25.18
30(b)(6) Deposition and Exhibits of Julie Pier Taken on 9.12.18 and 9.13.18
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JNJ000016326                             JNJ000133095
JNJ000016393                             JNJ000231207
JNJ000016566                             JNJ000231422
JNJ000016645                             JNJ000231601
JNJ000017587                             JNJ000232574
JNJ000017613                             JNJ000232996
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JNJ000019157                             JNJ000239315
JNJ000019158                             JNJ000239387
JNJ000019228                             JNJ000245216
JNJ000019415                             JNJ000245488
JNJ000019709                             JNJ000248160
JNJ000020298                             JNJ000248584
JNJ000020656                             JNJ000248615
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JNJ000030476                             JNJ000270084
JNJ000031001                             JNJ000284107
JNJ000033761                             JNJ000304364
JNJ000035173                             JNJ000304421
JNJ000035707                             JNJ000304716
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JNJ000038327                             JNJ000308280
JNJ000040596                             JNJ000314657
JNJ000042593                             JNJ000326795
JNJ000047005                             JNJ000330448
JNJ000047066                             JNJ000336835
JNJ000050364                             JNJ000343580
JNJ000066259                             JNJ000343611
JNJ000066264J
NJ000085114
JNJ000086531

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JNJ000343613                             JNJ000636887
JNJ000343614                             JNJ000636921
JNJ000343946                             JNJ000636932
JNJ000346836                             JNJ000636949
JNJ000349424                             JNJ000636972
JNJ000356521                             JNJ000637555
JNJ000367482                             JNJ000639691
JNJ000367483                             JNJ000648485
JNJ000368327                             JNJ000681690
JNJ000368353                             JNJ000682019
JNJ000374512                             JNJ000682120
JNJ000375389                             JNJ000682134
JNJ000376770                             JNJ000682228
JNJ000377123                             JNJ0003007294
JNJ000377125                             JNJAZ55_000004156
JNJ000377405                             JNJAZ55_000005015
JNJ000382894                             JNJAZ55_000010259
JNJ000383006                             JNJMX68_000020276
JNJ000383057                             JNJNL61_00019288
JNJ000385468                             JNJNL61_000030041
JNJ000405087                             JNJNL61_000045174
JNJ000405610                             JNJNL61_000052427
JNJ000422578                             JNJNL61_000067348
JNJ000426237                             JNJTALC000062785
JNJ000441710                             JNJTALC000062894
JNJ000447755                             JNJTALC000173802
JNJ000458312                             JNJTALC000173803
JNJ000468813                             JNJTALC000178819
JNJ000468930                             JNJTALC000289190
JNJ000471544                             JNJTALC000327308
JNJ000488208                             JNJTALC000341338
JNJ000489313                             JNJTALC000413069
JNJ000519460                             JNJTALC000413104
JNJ000521616                             JNJTALC000494340
JNJ000523964                             JNJTALC000533553
JNJ000523967                             JNJTALC000777136
JNJ000542058                             JNJTALC000777137
JNJ000566815                             JNJTALC000852994
JNJ000566816                             JNJTALC000873044
JNJ000576624                             J&J Healthwashing Babies For 100 Years
JNJ000576831                             JOJO-MA2546-01283
JNJ000592573                             Lewin to WCD 9.14.1972
JNJ000598569                             Lewin to WCD LoGiudice
JNJ000623908                             WCD0139 LoGiudice
JNJ000635886                             WCD0187



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PCPC_MDL00021038                                 PCPC0059477
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PCPC_MDL00026482                                 PCPC0066561
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PCPC_MDL00029211                                 PCPC0075387
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PCPC_MDL00031696                                 PCPC0079602
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 William Sage, MD, JD
 Medical Legal Testimony in last 4 years


 Date: September 23, 2021
 Johnson & Johnson Talcum Powder Products Marketing, Sales Practices and Product Liability
 Litigation MDL No. 2738


 Hourly Rate: $900/hour
